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 1
                                                      THE HONORABLE JOHN C. COUGHENOUR
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                              UNITED STATES DISTRICT COURT
 8                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 9

10 STEVEN VANCE, et al.,
                                        Plaintiffs,    No. 2:20-cv-01082-JCC-MAT
11
           v.                                          DEFENDANT MICROSOFT
12                                                     CORPORATION’S MOTION TO
                                                       DISMISS
13 MICROSOFT CORPORATION,
                                                       NOTE ON MOTION CALENDAR:
14                                  Defendant.         OCTOBER 9, 2020

15                                                     ORAL ARGUMENT REQUESTED
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 1                                           INTRODUCTION

 2           Illinois residents Steven Vance and Tim Janecyk allege Microsoft violated the Illinois

 3   Biometric Information Privacy Act (“BIPA”) when it downloaded an IBM-created dataset

 4   consisting of one million facial images, known as the Diversity in Faces Dataset (“DiF

 5   Dataset”).1 IBM allegedly created this dataset in 2019 “for the purpose of improving the

 6   ability of facial recognition systems to fairly and accurately identify all individuals.” Dkt. 1,

 7   Complaint (“Compl.”) ¶ 40. Plaintiffs seek to hold Microsoft liable for penalties under BIPA

 8   even though they allege IBM—not Microsoft—included their images and biometric

 9   information in the dataset.

10           Plaintiffs do so by alleging they voluntarily uploaded their photographs many years

11   ago to Flickr, a photo-sharing website. They allege Flickr then made their images publicly

12   available in a collection of 100 million photographs, from which IBM culled one million

13   images to create the DiF Dataset. Plaintiffs do not allege Microsoft (i) interacted with them

14   or any other Illinois Flickr users; (ii) conducted any activity relevant to this lawsuit in Illinois;

15   (iii) ever linked Plaintiffs’ identities with their individual biometric information; or (iv) ever

16   engaged in any transactions to profit from Plaintiffs’ data. They nevertheless contend BIPA

17   governs Microsoft’s out-of-state (i.e., Washington) conduct. And they assert Microsoft

18   violated BIPA by “collecting and obtaining individuals’ biometric identifiers and information

19   ... without providing the requisite written information and without obtaining the requisite

20   written releases.” Id. ¶ 94. They seek to bring these claims on behalf of a class of any other

21   Illinois residents whose images appear in the IBM DiF Dataset.

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       Plaintiffs Vance and Janecyk, represented by the same counsel, are pursuing a substantially
24   identical putative class action against Amazon, claiming BIPA violations based on allegations
     that, like Microsoft, Amazon downloaded the DiF Dataset from IBM. See Vance et al. v.
25
     Amazon.com, Inc., W.D. Wash. No. 2:20-cv-01084-RAJ. Microsoft understands Amazon is
26   likewise filing a motion to dismiss the claims against it, asserting the same dismissal
     arguments Microsoft asserts in this motion.
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 1           Plaintiffs fail to state a claim, and the Court should dismiss the Complaint with

 2   prejudice under Rule 12(b)(6), for the following reasons:

 3           First, the BIPA claims (Counts I and II) fail because BIPA does not express clear

 4   intent to apply extraterritorially, as required for Illinois statutes to have such effect. Thus, the

 5   statute could regulate Microsoft only if its BIPA-related conduct occurred primarily and

 6   substantially in Illinois. But Plaintiffs fail to allege Microsoft engaged in any conduct in

 7   Illinois giving rise to BIPA liability. Plaintiffs allege only that the IBM DiF Dataset, which

 8   Microsoft allegedly downloaded, included publicly-available online photographs of Vance

 9   and Janecyk, and that Microsoft conducts business in Illinois related to facial-recognition

10   technology more generally. This is plainly insufficient. BIPA does not reach Microsoft’s

11   alleged conduct.

12           Second, applying BIPA to Microsoft’s out-of-state conduct would violate the dormant

13   Commerce Clause, which “precludes the application of a state statute” that has “the practical

14   effect of ... control[ling] conduct beyond the boundaries of the State,” “whether or not the

15   commerce has effects within the State.” Healy v. Beer Inst., Inc., 491 U.S. 324, 336 (1989).

16   If Plaintiffs could state a BIPA claim against Microsoft, that would mean a business in

17   Washington could not engage in an online transaction with a business in New York without

18   subjecting itself to penalties in Illinois—even if the Washington business does nothing in

19   Illinois relating to the transaction and the transaction complies with Washington law. The

20   dormant Commerce Clause bars such an outcome.

21           Third, even if BIPA applied (and it should not), Plaintiffs fail to state a claim under its

22   plain language. Neither Section 15(b) nor Section 15(c) of BIPA applies to biometric

23   information derived from “photographs.” Section 15(b) also does not afford an action for

24   mere passive possession of biometric identifiers or information. And Plaintiffs fail to

25   plausibly plead that Microsoft “profited” from their biometric identifiers or information and

26   thus fail to state a Section 15(c) claim.
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 1          Fourth, Plaintiffs fail to state an unjust enrichment claim (Count III) because they do

 2   not plausibly allege (i) Microsoft was enriched by their biometric identifiers or biometric

 3   information; (ii) they suffered any expense or loss; or (iii) they lack an adequate remedy at

 4   law, given the alleged BIPA violation serves as the only basis for the unjust enrichment claim.

 5          Fifth, Plaintiffs’ “injunctive relief” claim (Count IV) amounts to nothing more than a

 6   prayer for relief, not a claim, and should therefore be dismissed.

 7                                    FACTUAL BACKGROUND

 8          A.      The Illinois Biometric Information Privacy Act.

 9          The Illinois General Assembly enacted BIPA in 2008 to address the growing use of

10   biometric technology “in the business and security screening sectors” in Illinois. 740 ILCS

11   14/5(a). The General Assembly found “[m]ajor national corporations ha[d] selected the City

12   of Chicago and other locations in [Illinois] as pilot testing sites for new applications of

13   biometric-facilitated financial transactions, including finger-scan technologies at grocery

14   stores, gas stations, and school cafeterias.” 740 ILCS 14/5(b). The Illinois legislature also

15   found that consumers had concerns about “use of biometrics when such information is tied to

16   finances” and were “deterred from partaking in biometric identifier-facilitated transactions,”

17   in part because of the “limited State law regulating the collection, use, safeguarding, and

18   storage of biometrics.” 740 ILCS 14/5(d), (e).

19          BIPA addresses these concerns by regulating the collection, possession, and storage of

20   certain biometric identifiers and information, while expressly excluding coverage of other

21   data. The statute defines “biometric identifier” using a short, exclusive list of personal data:

22   “‘[b]iometric identifier’ means a retina or iris scan, fingerprint, voiceprint, or scan of hand or

23   face geometry.” 740 ILCS 14/10. Section 15(b) requires private entities that “collect,

24   capture, purchase, receive through trade, or otherwise obtain a person’s ... biometric identifier

25   or biometric information” to first (1) inform the person of that collection “in writing”; (2)

26   inform the person “in writing of the specific purpose and length of term” regarding the
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 1   collection; and (3) obtain a “written release” from the person. 740 ILCS 14/15(b). Section

 2   15(c) further prohibits any private entity “in possession of a biometric identifier or biometric

 3   information” from “sell[ing], leas[ing], trad[ing], or otherwise profit[ing] from a person’s ...

 4   biometric identifier or biometric information.” 740 ILCS 14/15(c).

 5          For negligent violations of BIPA, a plaintiff may obtain “liquidated damages of

 6   $1,000 or actual damages, whichever is greater,” and for intentional or reckless violations of

 7   BIPA, a plaintiff may collect “liquidated damages of $5,000 or actual damages, whichever is

 8   greater.” 740 ILCS 14/20(2).

 9          B.      The IBM DiF Dataset.

10          Plaintiffs Vance and Janecyk allege that, in 2008 and 2011, respectively, they uploaded

11   photos of themselves to the photo-sharing website Flickr. Compl. ¶¶ 60, 69. Each alleges he

12   uploaded his photos using a device in Illinois. Id.

13          Plaintiffs contend that, in 2014, Yahoo!—Flickr’s parent company at the time—

14   released to the public approximately 100 million photos uploaded by Flickr users (the “Flickr

15   Dataset”). Id. ¶ 29. Oath Inc.—the current name of the entity formerly known as Yahoo!—is

16   a Delaware corporation headquartered in Sunnyvale, California. 2 Plaintiffs do not allege any

17   interaction or relationship between Flickr and Microsoft.

18          Plaintiffs next assert IBM in 2019 created the DiF Dataset “consisting of one million

19   images culled from the Flickr Dataset ... for the purpose of improving the ability of facial

20   recognition systems to fairly and accurately identify all individuals.” Id. ¶ 40. Plaintiffs

21

22   2
       See State of Delaware, Department of State: Division of Corporations, Business Search
23   Results for Oath Inc., https://icis.corp.delaware.gov/ecorp/entitysearch/NameSearch.aspx (last
     accessed Sept. 10, 2020). The Court may take judicial notice of information posted on a state
24   government website because it is “readily verifiable and, therefore, the proper subject of
     judicial notice.” Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746, n.6 (9th Cir.
25
     2006); see also L’Garde, Inc. v. Raytheon Space & Airborne Sys., 805 F. Supp. 2d 932, 938
26   (C.D. Cal. 2011) (taking judicial notice of “Business Entity Detail” search result from
     Secretary of State website submitted in support of motion to dismiss).
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 1   contend IBM included their publicly available Flickr photos in the DiF Dataset, and in

 2   creating the dataset, IBM “scanned the facial geometry of each image contained in the

 3   dataset” and created “biometric identifiers” and “biometric information” from the

 4   photographs. Id. ¶ 41. According to Plaintiffs, the IBM DiF Dataset included a

 5   “‘comprehensive set of annotations of intrinsic facial features that includes craniofacial

 6   distances, areas and ratios, facial symmetry and contrast, skin color, age and gender

 7   predictions, subjective annotations, and pose and resolution.’” See id. ¶¶ 39–41.

 8          IBM is a New York corporation with its headquarters in New York, New York. 3

 9   Plaintiffs do not allege IBM created the DiF Dataset in Illinois, or even that IBM knew the

10   culled images included photographs of Illinois residents. Nevertheless, they allege BIPA

11   regulates the purported “biometric identifiers” and “biometric information” IBM allegedly

12   created from the Flickr photographs. Id. ¶¶ 41–44. Plaintiffs further allege IBM made the

13   DiF Dataset available to other companies. Id. ¶¶ 44, 47.

14          C.      Microsoft’s Alleged Conduct.

15          Plaintiffs assert Microsoft “applied for and obtained the Diversity in Faces Dataset

16   from IBM.” Id. ¶ 55. Plaintiffs do not plead facts showing Microsoft’s alleged acquisition of

17   the IBM DiF Dataset had any connection whatsoever with Illinois. Plaintiffs do not claim

18   they personally uploaded photos to Microsoft servers, used Microsoft software, services, or

19   technology, or ever communicated or interacted with Microsoft. Nor do Plaintiffs allege any

20   of Microsoft’s actions in purported violation of BIPA—e.g., “collecting, capturing and

21   otherwise obtaining the[ir] biometric identifiers and information” and/or “profit[ing]” from

22   that data, id. ¶¶ 58, 65–66, 73–74, 101—occurred in Illinois. Microsoft’s only alleged

23   connections to Illinois are: (1) allegedly possessing IBM’s DiF Dataset of publicly-available

24
     3
25    See New York State, Department of State, Division of Corporations, State Records & UCC,
     Search The Corporation and Business Entity Database Results for International Business
26   Machines Corporation, https://www.dos.ny.gov/corps/bus_entity_search.html (last accessed
     Sept. 10, 2020).
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 1   photos of approximately one million individuals, some undetermined number of which

 2   purportedly include Illinois residents, id. ¶¶ 63, 71; and (2) allegedly conducting “extensive

 3   business within Illinois related to the facial recognition products it unlawfully developed”—in

 4   some unspecified way—“using Plaintiffs’ ... biometric identifiers and information.” Id. ¶ 59.

 5                                             ARGUMENT

 6           Rule 12(b)(6) requires dismissal when a plaintiff “fail[s] to state a claim upon which

 7   relief can be granted.” Fed. R. Civ. P. 12(b)(6). To plead a viable cause of action, the

 8   allegations must transcend the “speculative,” “conceivable,” and “possible,” and must “state a

 9   claim that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555–57, 566–

10   67, 570 (2007). The Court must disregard “legal conclusions” and “conclusory statements,”

11   and scrutinize factual allegations to ensure they are more than “merely consistent with a

12   defendant’s liability.” Ashcroft v. Iqbal, 556 U.S. 662, 677–79 (2009).

13   I.      THE COURT SHOULD DISMISS PLAINTIFFS’ BIPA CLAIMS.

14           The Court should dismiss Plaintiffs’ BIPA claims because the claims violate Illinois’s

15   extraterritoriality doctrine and the dormant Commerce Clause, and fail to state a claim under

16   BIPA’s plain language.

17           A.      BIPA Does Not Apply Extraterritorially to Microsoft’s Alleged Conduct.

18           Under Illinois law, “a statute is without extraterritorial effect unless a clear intent in

19   this respect appears from the express provisions of the statute.” Avery v. State Farm Mut.

20   Auto. Ins. Co., 835 N.E.2d 801, 852 (Ill. 2005) (citation omitted). “[N]one of BIPA’s express

21   provisions indicates that the statute was intended to have extraterritorial effect.” Monroy v.

22   Shutterfly, Inc., 2017 WL 4099846, at *5 (N.D. Ill. Sept. 15, 2017). Because BIPA “was not

23   intended to and does not have extraterritorial application,” “asserted violations of [BIPA]

24   must have taken place in Illinois” to fall within the statute. Rivera v. Google, Inc., 238 F.

25   Supp. 3d 1088, 1100, 1104 (N.D. Ill. 2017). The statute requires an assessment “as to where

26   the essential elements of a BIPA violation take place.” Patel v. Facebook, Inc., 932 F.3d
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 1   1264, 1276 (9th Cir. 2019).

 2          Microsoft thus could be subject to BIPA only if “the majority of circumstances

 3   relating to the alleged violation of the [statute]” occurred in Illinois. Landau v. CNA Fin.

 4   Corp., 886 N.E.2d 405, 409 (Ill. App. 2008). Put another way, for BIPA to apply to

 5   Microsoft, “the circumstances relating to the claim [must have] occur[ed] primarily and

 6   substantially” in Illinois. Avery, 835 N.E.2d at 853; see also Patel, 932 F.3d at 1275–76

 7   (applying “primarily and substantially” test to BIPA claim). Plaintiffs’ claims fail this test.

 8          The primary and substantial elements of the Section 15(b) claim would involve

 9   Microsoft’s alleged “collection” of Plaintiffs’ biometric data from IBM without prior notice to

10   them and without their written consent. See Compl. ¶ 94; 740 ILCS 14/15(b). The elements

11   of Plaintiffs’ Section 15(c) claim would involve Microsoft’s alleged “profit[ing]” from their

12   biometric data. See Compl. ¶ 101; 740 ILCS 14/15(c). But Plaintiffs do not allege Microsoft

13   engaged in any of this conduct in Illinois—and they could not so allege consistent with their

14   obligations under Rule 11. Fed. R. Civ. P. 11.

15          Microsoft’s alleged possession of photographs of Illinois residents, Compl. ¶¶ 63, 71,

16   even if true, would not show it collected biometric information or profited from that

17   information in Illinois. On the contrary, Plaintiffs allege Microsoft obtained the DiF Dataset

18   online from IBM, a New York corporation, for free. Compl. ¶¶ 49, 55, 56. And Plaintiffs fail

19   to allege this non-commercial transaction occurred “primarily and substantially” in Illinois—

20   something, again, they would have no good faith basis to allege.

21          Plaintiffs also allege Microsoft “(i) sell[s] its facial recognition products to third-party

22   clients through an Illinois-based vendor; (ii) work[s] closely with an Illinois-based business to

23   build new applications for its facial recognition technology; and (iii) work[s] with the

24   University of Illinois, among others, to build and promote a ‘digital transformation institute’

25   aimed at ‘accelerating the application of artificial intelligence’ throughout business and

26   society.” Compl. ¶ 59. But Plaintiffs’ conclusory allegations do not plausibly explain how
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 1   these activities have any connection to the IBM DiF Dataset. In particular, Plaintiffs fail to

 2   allege the DiF Dataset, released in 2019, played any role in Microsoft’s development of any

 3   facial-recognition technology purportedly licensed or sold in Illinois—let alone photographs

 4   from Illinois residents specifically were used in that development.

 5          In alleging Microsoft “work[ed] with the University of Illinois, among others, to build

 6   and promote a ‘digital transformation institute’ aimed at ‘accelerating the application of

 7   artificial intelligence’ throughout business and society,” id., Plaintiffs quote (without citation)

 8   a March 2020 article from the Microsoft News Center. See C3.ai, Microsoft, and leading

 9   universities launch C3.ai Digital Transformation Institute (Mar. 26, 2020), Microsoft News

10   Center, https://news.microsoft.com/2020/03/26/c3-ai-microsoft-and-leading-universities-

11   launch-c3-ai-digital-transformation-institute/ (last accessed September 11, 2020). But the

12   “artificial intelligence” discussed in the article has nothing to do with facial-recognition

13   technology; rather, it involves the use of AI to mitigate COVID-19’s spread. See id.

14   (Because Plaintiffs quote this article, the Court may consider it on this motion. See Daniels-

15   Hall, 629 F.3d at 998–99 (considering documents referenced in complaint in ruling on motion

16   to dismiss).) Plaintiffs have alleged no plausible connection between Illinois and Microsoft’s

17   alleged download of the IBM DiF Dataset.

18          The few cases that have found it premature to determine at the motion to dismiss stage

19   whether a plaintiff’s claims would require an extraterritorial application of BIPA do not apply

20   here. In particular, in each of those cases an Illinois plaintiff allegedly uploaded a photo

21   directly to the defendant’s systems from a computer or device located in Illinois, so the

22   defendant’s collection arguably occurred in Illinois. See, e.g., Patel, 932 F.3d at 1268, 1276

23   (Illinois-based Facebook users uploaded their photos to Facebook from Illinois); Monroy,

24   2017 WL 4099846, at *6 (plaintiff “allege[d] that [his] photo was uploaded to Shutterfly’s

25   website from a device that was physically located in Illinois and had been assigned an Illinois-

26   based IP address”); Rivera, 238 F. Supp. 3d at 1101 (plaintiff’s “photographs were allegedly
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 1   ‘automatically uploaded in Illinois to [Google’s] cloud-based Google Photos service . . . from

 2   an Illinois-based Internet Protocol (‘IP’) address’” (citation omitted)). Here, by contrast,

 3   Plaintiffs allege they uploaded their photos from their devices in Illinois directly to Flickr;

 4   they do not allege they uploaded anything to Microsoft (or even IBM), much less that they

 5   did so in Illinois. Indeed, Plaintiffs do not allege they ever interacted with Microsoft at all—

 6   in Illinois or anywhere else—or that Microsoft had any interactions in Illinois showing

 7   supposed collection, use, or profit from the IBM DiF Dataset.

 8          In short, the Complaint does not allege Microsoft’s purported conduct occurred

 9   “primarily and substantially” in Illinois, as required to state a claim under Illinois law. Avery,

10   835 N.E.2d at 853; see also Neals v. PAR Tech. Corp., 419 F. Supp. 3d 1088, 1091–92 (N.D.

11   Ill. 2019) (dismissing BIPA complaint with leave to amend where court was “unable to

12   reasonably infer from the complaint that [plaintiff’s] fingerprint was collected in Illinois”);

13   Tarzian v. Kraft Heinz Foods Co., 2019 WL 5064732, at *3 (N.D. Ill. Oct. 9, 2019)

14   (dismissing Illinois consumer fraud claims under Rule 12(b)(6) based on absence of Illinois

15   connection). The Complaint therefore fails to state a claim against Microsoft under BIPA.

16          B.      Plaintiffs’ BIPA Claims Violate the Dormant Commerce Clause.

17                  1.      Plaintiffs’ Claims Impermissibly Attempt to Regulate Conduct
                            Occurring Entirely Outside Illinois’s Borders.
18
            Similar to Illinois’s extraterritoriality doctrine, the U.S. Constitution ensures a state
19
     regulates only the conduct that that state has a substantial interest in controlling. Article I,
20
     section 8 gives Congress the exclusive power to regulate commerce “among the several
21
     states.” This express grant of power implicitly “limit[s] ... the authority of the States to enact
22
     legislation affecting interstate commerce” and “precludes the application of a state statute”
23
     that has “the practical effect of ... control[ling] conduct beyond the boundaries of the State ...
24
     whether or not the commerce has effects within the State.” Healy, 491 U.S. at 336 n.1.
25

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 1           “[T]he dormant Commerce Clause . . . has at least two emanations”: (1) when a state

 2   statute “discriminates against interstate commerce, or when its effect is to favor in-state

 3   economic interests over out-of-state interests”; and (2) “direct regulation emanation”—i.e.,

 4   “when a state law directly affects transactions that take place across state lines or entirely

 5   outside of the state’s borders.” Daniels Sharpsmart, Inc. v. Smith, 889 F.3d 608, 614–15 (9th

 6   Cir. 2018) (quoting S.D. Myers, Inc. v. City & County of San Francisco, 253 F.3d 461, 467

 7   (9th Cir. 2001)). If a state statute directly regulates conduct “wholly outside of the state’s

 8   borders,” the statute is “struck down ... without further inquiry.” Chinatown Neighborhood

 9   Ass’n v. Harris, 794 F.3d 1136, 1145–46 (9th Cir. 2015) (citation omitted).

10           Because Plaintiffs do not allege Microsoft engaged in any relevant conduct in Illinois,

11   the “practical effect” of Plaintiffs’ BIPA claims would be to allow Illinois to control conduct

12   entirely beyond its boundaries. Plaintiffs’ claims therefore violate the “direct regulation”

13   emanation of the dormant Commerce Clause. See, e.g., Daniels Sharpsmart, Inc., 889 F.3d at

14   614–15 (California Medical Waste Management Act likely violated dormant Commerce

15   Clause by “attempt[ing] to reach beyond the borders of California [to] control transactions

16   that occur wholly outside of the State after ... medical waste ... has been removed from the

17   State”); Sam Francis Found. v. Christies, Inc., 784 F.3d 1320, 1323 (9th Cir. 2015) (“easily

18   conclud[ing] that” dormant Commerce Clause was violated by use of California statute to

19   regulate terms of art sales outside the state simply because seller resided in California).

20           Christies is instructive. That case involved California’s Resale Royalty Act, which

21   required a seller of fine art to pay the artist a 5% royalty “if the seller resides in California or

22   the sale takes place in California.” Id. (citation omitted). Various artists sued auction houses

23   and an online retailer for violating the Royalty Act by failing to pay the required royalties on

24   fine art sales, alleging “some sales took place in California and that other sales took place

25   outside California but on behalf of a seller who is a resident of California.” Id. at 1322. The

26   Ninth Circuit affirmed the district court’s Rule 12(b)(6) dismissal of the plaintiffs’ claims:
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 1          [The] Royalty Act requires the payment of royalties to the artist after a sale of
            fine art whenever “the seller resides in California or the sale takes place in
 2          California.” Defendants challenge the first clause because it regulates sales that
            take place outside California. Those sales have no necessary connection with
 3
            the state other than the residency of the seller. For example, if a California
 4          resident has a part-time apartment in New York, buys a sculpture in New York
            from a North Dakota artist to furnish her apartment, and later sells the sculpture
 5          to a friend in New York, the Act requires the payment of a royalty to the North
            Dakota artist – even if the sculpture, the artist, and the buyer never traveled to,
 6          or had any connection with, California. We easily conclude that the royalty
            requirement, as applied to out-of-state sales by California residents, violates
 7
            the dormant Commerce Clause. . . .
 8
     Id. at 1323–24 (emphasis added) (internal citations omitted).
 9
            Plaintiffs’ BIPA claims present analogous circumstances: like the California-based art
10
     sellers in Christies, Plaintiffs’ Illinois residency does not allow them to use BIPA to regulate
11
     the transmission of data between two non-Illinois entities (i.e., IBM and Microsoft) simply
12
     because some of the data purportedly relates to Illinois residents.
13
            Courts that have found dormant Commerce Clause challenges premature at the
14
     pleading stage in BIPA cases have done so based on very different allegations. In finding
15
     Shutterfly’s dormant Commerce Clause argument premature at the pleading stage, for
16
     example, the Monroy court emphasized plaintiff’s “suit, as well as his proposed class, is
17
     confined to individuals whose biometric data was obtained from photographs uploaded to
18
     Shutterfly in Illinois.” 2017 WL 4099846, at *7 (emphasis added). As a result, “[a]pplying
19
     BIPA in this case would not entail any regulation of Shutterfly’s gathering and storage of
20
     biometric data obtained outside of Illinois.” Id. By contrast, based on the allegations in the
21
     Complaint here, “applying BIPA in this case would [] entail [] regulation of [Microsoft’s
22
     alleged] gathering and storage of biometric data obtained outside of Illinois” because
23
     Plaintiffs do not allege they uploaded their photographs to Microsoft, much less to Microsoft
24
     (or IBM) in Illinois. See id. (emphasis added).
25

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 1                  2.      Plaintiffs’ BIPA Claims Impermissibly Displace the Legislation
                            and Policy Decisions Made by States Other Than Illinois.
 2
            The dormant Commerce Clause also prevents “inconsistent legislation arising from the
 3
     projection of one state regulatory regime into the jurisdiction of another State.” Healy, 491
 4
     U.S. at 337. This has particular application where, as here, extraterritorial application of
 5
     Illinois law would displace the inconsistent policies of other states, including Washington,
 6
     where Microsoft is incorporated and has its principal place of business.
 7
            Washington has its own Biometric Privacy Law, which applies only to the use and
 8
     collection of biometric information for “commercial purposes.” RCW 19.375.020(1).
 9
     Plaintiffs do not allege Microsoft violated the Washington law. They do not allege Microsoft
10
     used their biometrics for a “[c]ommercial purpose” as narrowly defined in Washington: “a
11
     purpose in furtherance of the sale or disclosure to a third party of a biometric identifier for the
12
     purpose of marketing of goods or services when such goods or services are unrelated to the
13
     initial transaction in which a person first gains possession of an individual’s biometric
14
     identifier.” RCW 19.375.010(4). Further, Washington’s law defines “[b]iometric identifier”
15
     as “data generated by automatic measurements of an individual’s biological characteristics . . .
16
     used to identify a specific individual,” but specifically excludes “a physical or digital
17
     photograph . . . or data generated therefrom” from the definition. RCW 19.375.010(1)
18
     (emphasis added). In other words, Washington’s law specifically excludes from its scope the
19
     facial-recognition technology alleged in the Complaint. See Compl. ¶¶ 41–44 (alleging
20
     “biometric identifiers and information” in IBM’s DiF Dataset were obtained from photos).
21
            Washington’s and Illinois’s statutes not only differ in reach, but also establish
22
     inconsistent requirements. Illinois imposes notice and consent requirements on any
23
     businesses that “collect, capture, purchase, receive through trade, or otherwise obtain a
24
     person’s ... biometric identifier or biometric information,” without regard to the purpose of the
25
     collection. 740 ILCS 14/15(b). In contrast, Washington requires notice and consent only to
26
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 1   “enroll” biometric information in a database—which “enrollment” activity Plaintiffs do not

 2   allege Microsoft has engaged in—involving “captur[ing] a biometric identifier of an

 3   individual, convert[ing] it into a reference template that cannot be reconstructed into the

 4   original output image, and stor[ing] it in a database that matches the biometric identifier to a

 5   specific individual.” RCW 19.375.020; RCW 19.375.010(5). Moreover, Washington law

 6   regulates the storage of biometric data only for a narrowly defined type of “commercial

 7   purpose,” i.e., “in furtherance of the sale or disclosure to a third party of a biometric identifier

 8   for the purpose of marketing of goods or services.” RCW 19.375.010(4). As a result, the

 9   Washington law does not reach Microsoft’s conduct as alleged in the Complaint. Further,

10   were the Court to interpret BIPA as applying to information obtained from photos (which it

11   should not, for reasons explained below), the Illinois law would again conflict with

12   Washington law, given Washington’s explicit decision not to regulate a private entity’s use of

13   “data generated” from “a physical or digital photograph.” RCW 19.375.010(1).

14           Allowing Plaintiffs’ BIPA claims to proceed despite these differences between the

15   Washington Biometric Privacy Law and BIPA would effectively allow Illinois to make policy

16   and legislative decisions for Washington, when Washington struck a different balance

17   regarding biometric privacy. While Plaintiffs may argue the laws do not “conflict” because a

18   company could simultaneously comply with both statutes, it could only do so by complying

19   with the stricter statute (BIPA)—a result that would effectively “forc[e] [Washington] to alter

20   [its] regulations to conform with the conflicting legislation”—i.e., BIPA. Nat’l Solid Wastes

21   Mgmt. Ass’n v. Meyer, 63 F.3d 652, 660 n.9 (7th Cir. 1995).

22           The dormant Commerce Clause is not violated only where it is logically impossible to

23   comply with the laws of different states. In National Collegiate Athletic Association v. Miller,

24   10 F.3d 633 (9th Cir. 1993), for example, Nevada’s statute “require[d] any national collegiate

25   athletic association to provide a Nevada institution, employee, student-athlete, or booster who

26   is accused of a rules infraction” with “procedural due process protections,” many of which
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 1   were “not included in the NCAA enforcement program.” Id. at 637. The Nevada statute did

 2   not literally “conflict” with NCAA rules or the laws of other states; it was simply stricter in

 3   that it required additional protections. The Ninth Circuit nonetheless held the statute violated

 4   the dormant Commerce Clause, and explained what is meant by states having “inconsistent

 5   obligations”:

 6          [S]uppose that state X required proof of an infraction beyond a reasonable
            doubt, while state Y only required clear and convincing evidence, and state Z
 7          required infractions to be proven by a preponderance of the evidence. Given
            that the NCAA must have uniform enforcement procedures in order to
 8
            accomplish its fundamental goals, its operation would be disrupted because it
 9          could not possibly comply with all three statutes. Nor would it do to say that
            it need only comply with the most stringent burden of persuasion (beyond a
10          reasonable doubt), for a state with a less stringent standard might well
            consider its standard a maximum as well as a minimum. The serious risk of
11          inconsistent obligations wrought by the extraterritorial effect of the Statute
            demonstrates why it constitutes a per se violation of the Commerce Clause.
12

13   Id. at 639–40 (emphasis added).

14          Applied here, BIPA and the Washington Biometric Privacy Law are similarly

15   inconsistent because the “state with a less stringent” biometric privacy law—i.e.,

16   Washington—“might well consider its standard a maximum as well as a minimum.” For

17   instance, perhaps not wanting to hamper research and development in a state known for

18   technological innovation, the Washington legislature may have consciously narrowed the

19   scope of its law so companies do not cease technological development over fears of liability.

20          The dormant Commerce Clause protects businesses engaged in interstate commerce

21   from precisely this kind of inconsistency between state statutes, which can “easily subject the

22   [defendant] to conflicting requirements.” See, e.g., id. at 639. This principle is particularly

23   important in the context of transactions over the Internet, such as Microsoft’s alleged

24   download of the IBM DiF Dataset. “[C]ourts have long recognized that certain types of

25   commerce demand consistent treatment,” and “[t]he Internet represents one of those areas”:

26   “[r]egulation by any single state can only result in chaos, because at least some states will

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 1   likely enact laws subjecting Internet users to conflicting obligations.” Am. Libraries Ass’n v.

 2   Pataki, 969 F. Supp. 160, 181 (S.D.N.Y. 1997); see also ACLU v. Johnson, 194 F.3d 1149,

 3   1162 (10th Cir. 1999). At the very least, the “massive liability brought on by conflicting

 4   applicable law could chill ... the rapidly expanding field of Internet commerce.” Archdiocese

 5   of St. Louis v. Internet Entm’t Grp., Inc., 1999 WL 66022, at *3 (E.D. Mo. Feb. 12, 1999).

 6          Applying Illinois’s BIPA law to regulate an online transaction through which

 7   Microsoft, a Washington company, allegedly downloaded data from IBM, a New York-based

 8   company, would burden interstate commerce and violate the dormant Commerce Clause. See

 9   Backpage.com, LLC v. McKenna, 881 F. Supp. 2d 1262, 1285–86 (W.D. Wash. 2012)

10   (Washington statute likely violated dormant Commerce Clause because, among other things,

11   it would regulate “advertisement[s] … occurring entirely outside of the state,” and the

12   statute’s proposed “screening process would constitute a significant and costly change to …

13   corporations that have little to no connection with the State of Washington” and a “burden

14   [that] would be exponentially exacerbated if every state were permitted to legislate its own

15   requirements”). Microsoft’s alleged download of the DiF Dataset, which IBM created “for

16   the purpose of improving the ability of facial recognition systems to fairly and accurately

17   identify all individuals,” Compl. ¶ 40, would pass muster under Washington law. To apply

18   BIPA to govern transactions of this nature would adversely affect businesses and universities

19   across the country, who could be forced to stop research into facial recognition using any

20   dataset that might contain a small percentage of images of Illinois residents. See, e.g., Ira

21   Kemelmacher-Shlizerman et al., The MegaFace Benchmark: 1 Million Faces for Recognition

22   at Scale, UNIVERSITY OF WASHINGTON (2015),

23   http://megaface.cs.washington.edu/KemelmacherMegaFaceCVPR16.pdf, at § 3 (explaining

24   University of Washington’s “MegaFace” facial-recognition research project made use of

25   “Yahoo’s 100M Flickr set”). The dormant Commerce Clause exists precisely to prevent this

26   burden on interstate commerce.
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 1           C.      Plaintiffs Fail to State a Claim Under BIPA Sections 15(b) or 15(c).

 2           Even if BIPA could apply to Microsoft’s alleged conduct (and it does not), the claims

 3   would still fail because Plaintiffs state no claim under Sections 15(b) or (c), as BIPA does not

 4   reach photographs. Further, Plaintiffs improperly rely on mere passive possession of

 5   biometric identifiers or information, and do not plausibly plead Microsoft “profited” from

 6   their biometric identifiers or information.

 7                   1.      BIPA Does Not Apply to the Use of Photographs.

 8           Plaintiffs fail to state a claim under either BIPA Section 15(b) or 15(c) because, under

 9   the statute’s plain language, it does not apply to photographs or identifiers derived from

10   photographs. In enacting BIPA, the Illinois legislature created two categories of covered

11   biometric data: (1) original sources of information about a person (“biometric identifiers”—

12   defined as a “retina or iris scan, fingerprint, voiceprint, or scan of hand or face geometry”);

13   and (2) data extracted or derived from those sources (“biometric information”—defined as

14   “information . . . based on an individual’s biometric identifier”). 740 ILCS 14/10. The statute

15   specifically excludes photographs from the definition of “biometric identifier.” And because

16   “biometric information” includes only information based on a “biometric identifier,”

17   “information derived from” photographs necessarily cannot be “biometric information.” Id.

18           In short, the Illinois legislature went out of its way to exclude both photographs and

19   information derived from photographs from BIPA’s scope. The alleged “comprehensive set

20   of annotations of intrinsic facial features” IBM allegedly obtained from Plaintiffs’ Flickr

21   photos and made available to Microsoft (Compl. ¶¶ 41, 55) are therefore expressly excluded

22   from the statutory definitions of “biometric identifier” and “biometric information.”

23           The legislative history confirms BIPA’s limited purpose. As BIPA moved toward

24   passage, legislators narrowed the definitions of “biometric identifier” and “biometric

25   information.” The first Senate version defined “biometric identifier” broadly: “Examples of

26   biometric identifiers include, but are not limited to[,] iris or retinal scans, fingerprints,
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 1   voiceprints, and records of hand or facial geometry.” Sen. Bill 2400, § 10 (Feb. 14, 2008)

 2   (emphasis added) (attached as Exhibit A).4 And although the definition of “biometric

 3   identifier” always excluded “photographs,” the original definition of “biometric information”

 4   did not exclude information derived from photographs. Id. The next proposal was even

 5   broader: “biometric identifier” included “records or scans of hand geometry, facial geometry,

 6   or facial recognition.” Sen. Am. to Sen. Bill 2400, § 10 (Apr. 11, 2008) (emphasis added)

 7   (attached as Exhibit B).

 8          But that proposal was rejected, and the House offered a substantially narrower version:

 9   it (a) changed the definition of “biometric identifiers” from an open-ended set of “[e]xamples”

10   to a narrow list of enumerated sources; (b) removed the broad term “records” of hand or face

11   geometry; and (c) excluded from the definition of “biometric information” all “information

12   derived from items or procedures excluded under the definition of biometric identifiers.”

13   House Am. to Sen. Bill 2400, § 10 (May 28, 2008) (attached as Exhibit C). The legislature

14   enacted this narrower version of BIPA and expressly declined (a) to include a “record” of

15   facial geometry in the definition of biometric identifier, (b) to regulate all forms of “facial

16   recognition,” or (c) to allow information derived from photographs to slip into the definition

17   of “biometric information.” This reflects a clear intent to regulate only a narrow set of

18   technologies—and to exclude a host of others, including all forms of facial recognition

19   derived from photographs.

20          Although some courts have declined to dismiss BIPA complaints where plaintiffs

21   relied on the application of facial-recognition technology to photos, Microsoft respectfully

22   submits those cases were wrongly decided, and this Court should decline to follow them. For

23

24
     4
       The Court may take judicial notice of the legislative history attached as Exhibits A–C. See,
25   e.g., Sonoma Cty. Ass’n of Retired Employees v. Sonoma Cty., 708 F.3d 1109, 1120 n.8 (9th
     Cir. 2013) (granting motion to take judicial notice of legislative history); Harbers v. Eddie
26   Bauer, LLC, 415 F. Supp. 3d 999, 1007 n.5 (W.D. Wash. 2019) (“Information published on
     government websites, including legislative history, is a proper subject of judicial notice.”).
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 1   example, the court in In re Facebook Biometric Information Privacy Litigation, 185 F. Supp.

 2   3d 1155, 1171 (N.D. Cal. 2016), concluded “‘[p]hotographs’ is better understood to mean

 3   paper prints of photographs, not digitized images stored as a computer file and uploaded to

 4   the Internet.” But this reading cannot be reconciled with the commonly understood meaning

 5   of “photograph” when the statute was passed in 2008. By 2006, even the Oxford English

 6   Dictionary defined “photograph” as “[a] picture made using a camera in which an image is

 7   focused on to sensitive material and then made visible and permanent by chemical treatment;

 8   (later also) a picture made by focusing an image and then storing it digitally.” Oxford

 9   English Dictionary (Mar. 2006), available at

10   https://www.oed.com/view/Entry/142818?rskey=8jt7S7&result=1&isAdvanced=false#eid

11   (emphasis added); see also Webster’s Dictionary 373 (2008 ed.) (“photography” means “the

12   art or process of producing images on a sensitive surface (as film or a CCD chip [a form of

13   technology used in digital imaging] by the action of light”) (attached as Exhibit D).

14          A statutory term should be interpreted “consistent with standard definitions ... found in

15   dictionaries, which [courts] may consult when attempting to ascertain the plain and ordinary

16   meaning.” Rosenbach v. Six Flags Entm’t Corp., 129 N.E.3d 1197, 1205 (Ill. 2019). By

17   interpreting “[p]hotographs” to mean only “paper prints of photographs, not digitized

18   images,” 185 F. Supp. 3d at 1171, the court in Facebook ignored the “plain and ordinary

19   meaning” of “photographs.” The courts’ reasoning in Monroy and Rivera is similarly

20   unsound. Those cases did not properly account for BIPA Section 5, which makes clear the

21   statute is intended to regulate “biometric identifier-facilitated transactions,” such as those that

22   occur “at grocery stores, gas stations, and school cafeterias”—all intrinsically in-person

23   activities. 740 ILCS 14/5(b)–(e) (emphasis added). Indeed, the statute gives several

24   examples of the activities it regulates, and all involve in-person activities in which biometric

25   information may be captured. See id.

26          The Court should also reject the reasoning of Facebook, Monroy, and Rivera because
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 1   that reasoning leads to absurd results. “[I]nterpretations of a statute which would produce

 2   absurd results are to be avoided if alternative interpretations consistent with the legislative

 3   purpose are available.” Griffin v. Oceanic Contractors, Inc., 458 U.S. 564, 575 (1982); see

 4   also People v. Hanna, 800 N.E.2d 1201, 1207–09 (Ill. 2003) (rejecting statutory construction

 5   leading to “absurd result” that regulated entity would be unable to comply with the statute’s

 6   requirements). For example, the Complaint cites an article noting researchers have used

 7   facial-recognition technology “to identify the portraits of unknown soldiers in Civil War

 8   photographs taken in the 1860s.” Compl. ¶ 54 n.15 (quoting Brad Smith, Facial recognition:

 9   It’s time for action (Dec. 6, 2018), Microsoft, https://blogs.microsoft.com/on-the-

10   issues/2018/12/06/facial-recognition-its-time-for-action/). Under the reasoning of Facebook,

11   Monroy, and Rivera, using facial-recognition technology to scan soldiers’ facial features for

12   identification purposes leads to the creation of “biometric information,” meaning a private

13   entity cannot create this data without the subject’s “written release.” 740 ILCS 14/15(b). But

14   a private entity obviously cannot obtain a “written release” from a Civil War veteran in an

15   1863 photo, and it begs credulity to assume the Illinois legislature meant for BIPA to prohibit

16   such activity. This illustration, in addition to BIPA’s “written release” requirement, shows

17   BIPA contemplates in-person transactions involving use of biometric technology, not the

18   creation of biometric data from a static image of an unidentified person.

19                  2.      Section 15(b) Does Not Apply to the Passive Possession of Data by
                            Third Parties Like Microsoft.
20
            BIPA Section 15(b) imposes the following requirements on private entities before they
21
     can collect an individual’s biometric information: (1) inform the individual “in writing that a
22
     biometric identifier or biometric information is being collected”; (2) inform the individual “in
23
     writing of the specific purpose and length of term for which a biometric identifier or biometric
24
     information is being collected”; and (3) receive “a written release executed by the subject.”
25
     740 ILCS 14/15(b). Unlike BIPA Sections 15(a), (c), (d), and (e)—which are triggered
26
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 1   through passive “possession”—only actions trigger Section 15(b), i.e., the private entity must

 2   “collect, capture, purchase, receive through trade,” or “obtain” biometric information. 740

 3   ILCS 14/15. Section 15(b) therefore does not impose any requirements on entities that merely

 4   “possess[]” biometric information, but only on entities who actively “collect” biometric

 5   information. Had the legislature meant to bring all entities who merely “possess” biometrics

 6   within Section 15(b)’s purview, it could have explicitly done so—as it did in Sections 15(a),

 7   (c), (d), and (e). See, e.g., Dana Tank Container, Inc. v. Human Rights Comm’n, 687 N.E.2d

 8   102, 104 (Ill. App. Ct. 1997) (“Where the legislature uses certain words in one instance and

 9   different words in another, it intended different results.”); accord In re D.W., 827 N.E.2d 466,

10   479 (Ill. 2005).

11          This textual difference confirms Section 15(b) does not apply to the conduct alleged

12   here. Plaintiffs do not allege Microsoft collected or obtained biometric information directly

13   from any individual, much less these Plaintiffs. See, e.g., Cameron v. Polar Tech Indus., Inc.

14   & ADP, LLC, No. 2019-CH-000013, Tr. at 29–36 (DeKalb Cty. Ill. Cir. Ct. Aug. 23, 2019)

15   (dismissing Section 15(b) claim against third-party timekeeping vendor) (attached as

16   Exhibit E); Bernal v. ADP, LLC, No. 2017-CH-12364, Order at 2–3 (Cook Cty. Ill. Cir. Ct.

17   Aug. 23, 2019) (dismissing Section 15(a), (b), (c), and (d) claims against ADP and noting

18   Section 15(b)’s “requirement that the private entity whose actions the subsection is meant to

19   regulate must receive a ‘written release’ … does suggest that the legislature did not intend for

20   the subsection to apply to a third party entity”) (attached as Exhibit F); Namuwonge v.

21   Kronos, Inc., 418 F. Supp. 3d 279, 286 (N.D. Ill. 2019) (dismissing Section 15(b) claims

22   against third-party timekeeping vendor and noting “there is a difference between possessing

23   and collecting biometric information”).

24          It would yield absurd results to construe Section 15(b) as imposing individual notice

25   and release obligations on third parties like Microsoft, who do not collect any individual’s

26   biometric information but simply download a large dataset of anonymized images that, only
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 1   incidentally, may include some images of Illinois residents. Plaintiffs’ proposed solution to

 2   this absurdity only compounds the problem. They allege Microsoft should have identified

 3   Plaintiffs’ images by clicking the one million “links Defendant Microsoft received from

 4   IBM,” ascertained each Plaintiff’s photographs in the IBM DiF Dataset “originated from, and

 5   was affiliated with, his Flickr account,” learned of Plaintiffs’ Illinois residency by scrutinizing

 6   their accounts, and then contacted each Plaintiff to seek an individual release. Compl. ¶¶ 62-

 7   66 (Vance), 70-74 (Janecyk). Leaving aside the impracticality of this suggestion, it would not

 8   even satisfy Section 15(b) as Plaintiffs read it, because the statute forbids an entity’s receipt of

 9   biometric information unless it “first” provides notice and secures a release. This, of course,

10   is something the Complaint concedes Microsoft could not have done until after it had the

11   IBM DiF dataset in its possession for a sufficient length of time to scour one million Flickr

12   accounts, locate Plaintiffs, identify them as Illinois residents, and secure a release.

13          In short, under Plaintiffs’ reading of the statute, no entity could safely download any

14   large biometric dataset, no matter how anonymized the images or laudable the entity’s

15   purposes, because the specter of BIPA liability would loom large if the dataset happened to

16   contain any images of Illinois residents—something the entity could ascertain only after it

17   was too late to avoid liability. “[T]o read BIPA as requiring that a third party ..., without any

18   direct relationship with [plaintiffs], obtain written releases from said [plaintiffs] would be

19   unquestionably not only inconvenient but arguably absurd.” Bernal, No. 2017-CH-12364,

20   Ex. G at 2–3. The Court should dismiss Plaintiffs’ BIPA Section 15(b) claim because they do

21   not allege Microsoft actively collected or obtained their biometrics.

22                  3.      Plaintiffs Fail to Plausibly Allege Microsoft “Profited” From Their
                            Biometrics and Thus Fail to Plead a Section 15(c) Claim.
23
            Plaintiffs’ BIPA Section 15(c) claim—based on Microsoft allegedly “profiting” from
24
     their biometrics by supposedly using the IBM DiF Database to improve its facial-recognition
25
     technology, see Compl. ¶ 58—turns on a mischaracterization of “profit” under Section 15(c).
26
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 1   That section provides an entity may not “sell, lease, trade, or otherwise profit from a person’s

 2   ... biometric identifier or biometric information.” The four verbs—“sell, lease, trade, or

 3   otherwise profit”—all contemplate the direct provision of biometric data in exchange for

 4   money. 740 ILCS 14/15(c). “[W]hen a statutory clause specifically describes several classes

 5   of ... things and then includes ‘other ... things,’ the word ‘other’ is interpreted to mean ‘other

 6   such like.’” Pooh-Bah Enter., Inc. v. Cnty. of Cook, 905 N.E.2d 781, 799 (Ill. 2009). Thus,

 7   like “sell,” “lease,” and “trade,” Section 15(c)’s use of “otherwise profit” contemplates an

 8   entity receiving a pecuniary benefit in exchange for a person’s biometric data—not the

 9   indirect “profit” gained by using a large dataset of information derived from anonymous facial

10   imagery “to improve the fairness and accuracy of ... facial recognition.” Compl. ¶ 57.

11            Nothing in the Complaint plausibly suggests Microsoft profited from Plaintiffs’

12   biometric data. For that reason, the Court should dismiss Plaintiffs’ Section 15(c) claim.

13   II.      THE COURT SHOULD DISMISS THE UNJUST ENRICHMENT CLAIM.

14            Plaintiffs must plead three elements to allege unjust enrichment under Washington

15   law: “(1) that Microsoft received a benefit, (2) at [Plaintiffs’] expense, and (3) the

16   circumstances make it unjust for Microsoft to retain the benefit without payment.” Cousineau

17   v. Microsoft Corp., 992 F. Supp. 2d 1116, 1129 (W.D. Wash. 2012) (Coughenour, J.) (citing

18   Young v. Young, 164 Wn.2d 477 (2008)). Illinois law is no different. See Cleary v. Philip

19   Morris Inc., 656 F.3d 511, 516 (7th Cir. 2011) (quoting HPI Health Care Servs., Inc. v. Mt.

20   Vernon Hosp., Inc., 545 N.E.2d 672, 679 (Ill. 1989)) (“In Illinois, ‘[t]o state a cause of action

21   based on a theory of unjust enrichment, a plaintiff must allege that the defendant has unjustly

22   retained a benefit to the plaintiff’s detriment, and that defendant’s retention of the benefit

23   violates the fundamental principles of justice, equity, and good conscience.’”). “In the

24   absence of a conflict [between Illinois and Washington law], Washington law applies”

25   because it is the law of the forum state. Kelley v. Microsoft Corp., 251 F.R.D. 544, 550 (W.D.

26   Wash. 2008).
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 1          The Court should dismiss Plaintiffs’ unjust enrichment claim for at least three reasons.

 2          First, as explained above, the conduct at issue does not violate any applicable law, and

 3   Plaintiffs have not alleged anything independent of BIPA that would make Microsoft’s

 4   alleged conduct “inequitable.” In fact, nothing in the Complaint suggests Plaintiffs’ Flickr

 5   photos were privately posted; to the contrary, Plaintiffs suggest their images were publicly

 6   available to anyone. See Compl. ¶¶ 64, 72.

 7          Second, although Plaintiffs allege the IBM DiF Dataset, consisting of a million

 8   images, indirectly “enriched” Microsoft by playing some undefined role in “improv[ing] its

 9   facial recognition products,” Compl. ¶ 58, they do not allege this purported enrichment caused

10   them to suffer a corresponding economic “expense” or “detriment.” This Court has rejected

11   the notion that unjust enrichment can be based on alleged misuse of personal or private data

12   because unjust enrichment does not apply “outside the context of an ‘expense’ stemming from

13   some tangible economic loss to a plaintiff.” Cousineau, 992 F. Supp. 2d at 1129-30 (granting

14   motion to dismiss unjust enrichment claim that Microsoft used location data “to improve its

15   systems and develop its mobile marketing campaign”); see also Mount v. PulsePoint, Inc.,

16   684 Fed. App’x 32, 36 (2d Cir. 2017), as amended (May 3, 2017) (plaintiffs failed to plead

17   unjust enrichment in light of “plaintiffs’ failure to allege specific loss or deprivation of

18   opportunity to profit from [personal] information”); Welborn v. Internal Revenue Serv., 218 F.

19   Supp. 3d 64, 78 (D.D.C. 2016) (collecting cases for observation “[c]ourts have routinely

20   rejected the proposition that an individual’s personal identifying information has an

21   independent monetary value”).

22          Third, unjust enrichment provides an equitable remedy, available only when a plaintiff

23   lacks an adequate remedy at law. As a result, when plaintiffs have a statutory remedy

24   available, “they are not entitled to pursue a remedy in equity” for unjust enrichment. Seattle

25   Prof’l Eng’g Employees Ass’n v. Boeing Co., 139 Wn.2d 824, 838–39 (2000) (employees who

26   “had a cause of action under chapter 49.52 RCW” could not pursue equitable claim for
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 1   restitution or unjust enrichment). Here, no common law principle makes it unfair or

 2   inequitable for an entity “to improve the fairness and accuracy of its facial recognition

 3   products and technologies,” Compl. ¶ 57, by using biometric markers derived from a large

 4   dataset of photographs. Plaintiffs’ unjust enrichment claim therefore turns on their allegation

 5   of a BIPA violation. In the circumstances, Plaintiffs must pursue their remedies at law, under

 6   BIPA, or not at all.

 7   III.   PLAINTIFFS HAVE NO SEPARATE INJUNCTIVE RELIEF CLAIM.

 8          Plaintiffs’ purported cause of action for injunctive relief fails because “[i]njunctive

 9   relief is a remedy, not a cause of action.” Edifecs Inc., v. TIBCO Software Inc., 2011 WL

10   1045645, at *3 (W.D. Wash. Mar. 23, 2011). The Court should also dismiss the request for

11   injunctive relief because Plaintiffs fail to plead viable causes of action in Counts I through III

12   and, therefore, have no valid claim to which they could tie the requested remedy of injunctive

13   relief. See, e.g., Edwards v. JPMorgan Chase Bank, N.A., 2011 WL 3516155, at *3–4 (W.D.

14   Wash. Aug. 11, 2011) (dismissing injunctive relief claim and noting plaintiffs “have no right

15   to injunctive relief absence a viable cause of action against [defendant]”).

16                                           CONCLUSION

17          For the foregoing reasons, Microsoft respectfully requests that the Court dismiss

18   Plaintiffs’ Complaint with prejudice.

19          DATED this 14th day of September, 2020.

20
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                  Exhibit A
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                                             *LRB09519768KBJ46142b*
SB2400
                        95TH GENERAL ASSEMBLY
                           State of Illinois
                                2007 and 2008
                                     SB2400

    Introduced 2/14/2008, by Sen. Terry Link

    SYNOPSIS AS INTRODUCED:
    New Act

         Creates the Biometric Information Privacy Act. Provides that a public
    agency or private entity in possession of biometric identifiers or
    biometric information must develop a written policy, made available to the
    public, establishing a retention schedule and guidelines for permanently
    destroying biometric identifiers and biometric information when the
    initial purpose for collecting or obtaining such identifiers or information
    has been satisfied or within 3 years of the individual's last interaction
    with the public agency or private entity. Provides that absent a valid
    warrant or subpoena, a public agency or private entity in possession of
    biometric identifiers or biometric information must comply with its
    established retention schedule and destruction guidelines. Provides that
    no public agency or private entity may collect, capture, purchase, receive
    through trade, or otherwise obtain a person's or a customer's biometric
    identifier or biometric information, unless it first satisfies certain
    conditions. Provides that these provisions do not apply to a public agency
    engaged in criminal investigations or prosecutions or a public agency
    acting pursuant to a valid warrant or subpoena. Provides that a public
    agency in possession of biometric identifiers or biometric information
    shall store, transmit, and protect from disclosure all biometric
    identifiers and biometric information in a manner that is the same as or
    more protective than the manner in which the public agency stores,
    transmits, and protects other confidential and sensitive information.
    Provides that any person aggrieved by a violation of this Act shall have a
    right of action in a State circuit court or as a supplemental claim in
    federal district court. Preempts home rule. Contains other provisions.

                                                  LRB095 19768 KBJ 46142 b


              FISCAL NOTE ACT                          HOME RULE NOTE
                 MAY APPLY                              ACT MAY APPLY




                                  A BILL FOR
     Case 2:20-cv-01082-JCC-MAT Document 25 Filed 09/14/20 Page 34 of 136



     SB2400                                      LRB095 19768 KBJ 46142 b


 1       AN ACT concerning health.


 2       Be it enacted by the People of the State of Illinois,

 3   represented in the General Assembly:


 4       Section 1. Short title. This Act may be cited as the
 5   Biometric Information Privacy Act.


 6       Section   5.   Legislative     findings;   intent.   The    General
 7   Assembly finds all of the following:
 8       (a) The use of biometrics is growing in the business and
 9   security screening sectors and appears to promise streamlined
10   financial transactions and security screenings.
11       (b) Major national corporations have selected the City of
12   Chicago and other locations in this State as pilot testing
13   sites for new applications of biometric-facilitated financial
14   transactions,   including   "Pay    By   Touch"   at   banks,   grocery
15   stores, gas stations, and school cafeterias.
16       (c) Biometrics are unlike other unique identifiers that are
17   used to access finances or other sensitive information. For
18   example, social security numbers, when compromised, can be
19   changed. Biometrics, however, are biologically unique to the
20   individual; therefore, once compromised, the individual has no
21   recourse, is at heightened risk for identity theft, and is
22   likely to withdraw from biometric-facilitated transactions.
23       (d) An overwhelming majority of members of the public are
     Case 2:20-cv-01082-JCC-MAT Document 25 Filed 09/14/20 Page 35 of 136



     SB2400                              - 2 -             LRB095 19768 KBJ 46142 b


 1   opposed to the use of biometrics when such information is tied
 2   to personal finances and other personal information.
 3        (e) Despite limited State law regulating the collection,
 4   use, safeguarding, and storage of biometric information, many
 5   members of the public are deterred from partaking in biometric
 6   identifier-facilitated facility transactions.
 7        (f) The public welfare, security, and safety will be served
 8   by regulating the collection, use, safeguarding, handling,
 9   storage, retention, and destruction of biometric identifiers
10   and information.


11        Section 10. Definitions. In this Act:
12        "Biometric     identifier"      means        any     indelible      personal
13   physical characteristic which can be used to uniquely identify
14   an individual or pinpoint an individual at a particular place
15   at   a   particular     time.    Examples        of    biometric      identifiers
16   include,    but   are   not     limited     to    iris    or    retinal      scans,
17   fingerprints,     voiceprints,      and     records       of   hand    or   facial
18   geometry.     Biometric       identifiers        do     not    include      writing
19   samples, written signature, and photographs.
20        "Biometric information" means any information, regardless
21   of how it is captured, converted, stored, or shared, based on
22   an   individual's     biometric     identifier          used   to   identify     an
23   individual.
24        "Confidential and sensitive information" means personal
25   information that can be used to uniquely identify an individual
     Case 2:20-cv-01082-JCC-MAT Document 25 Filed 09/14/20 Page 36 of 136



     SB2400                              - 3 -          LRB095 19768 KBJ 46142 b


 1   or an individual's account or property include, but are not
 2   limited to a genetic marker, genetic testing information, a
 3   unique identifier number to locate an account or property, an
 4   account number, a PIN number, a pass code, a driver's license
 5   number, or a social security number.
 6       "Legally effective written release" means informed written
 7   consent.
 8       "Private    entity"      means     any       individual,    partnership,
 9   corporation, limited liability company, association, or other
10   group, however organized.
11       "Public agency" means the State of Illinois and its various
12   subdivisions and agencies, and all units of local government,
13   school districts, and other governmental entities.


14       Section      15.        Retention;       collection;         disclosure;
15   destruction.
16       (a) A public agency or private entity in possession of
17   biometric identifiers or biometric information must develop a
18   written policy, made available to the public, establishing a
19   retention schedule and guidelines for permanently destroying
20   biometric   identifiers       and    biometric      information    when     the
21   initial purpose for collecting or obtaining such identifiers or
22   information    has   been    satisfied      or    within   3   years   of   the
23   individual's last interaction with the public agency or private
24   entity. Absent a valid warrant or subpoena issued by a court of
25   competent jurisdiction, a public agency or private entity in
     Case 2:20-cv-01082-JCC-MAT Document 25 Filed 09/14/20 Page 37 of 136



     SB2400                                    - 4 -        LRB095 19768 KBJ 46142 b


 1   possession of biometric identifiers or biometric information
 2   must    comply       with    its       established    retention    schedule   and
 3   destruction guidelines.
 4          (b)   No     public   agency       or    private   entity   may   collect,
 5   capture, purchase, receive through trade, or otherwise obtain a
 6   person's or a customer's biometric identifier or biometric
 7   information, unless it first:
 8                (1) informs the subject in writing that a biometric
 9       identifier or biometric information is being collected or
10       stored;
11                (2) informs the subject in writing of the specific
12       purpose and length of term for which a biometric identifier
13       or biometric information is being collected, stored, and
14       used; and
15                (3)    receives       a    legally    effective   written    release
16       executed by the subject of the biometric identifier or
17       biometric information or the subject's legally authorized
18       representative.
19       (c) Subsections (a) and (b) of this Section do not apply to
20   a   public         agency    engaged       in     criminal   investigations   or
21   prosecutions. Subsections (a) and (b) of this Section do not
22   apply to a public agency acting pursuant to a valid warrant or
23   subpoena issued by a court of competent jurisdiction.
24       (d) No public agency or private entity in possession of a
25   biometric identifier or biometric information may sell, lease,
26   trade, or otherwise profit from a person's or a customer's
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 1   biometric identifier or biometric information.
 2       (e) Nothing in subsection (d) of this Section shall be
 3   construed to prohibit or inhibit a public agency engaged in
 4   criminal investigations or prosecutions from:
 5             (1)   sharing       biometric        identifiers    or    biometric
 6       information with another public agency engaged in criminal
 7       investigations or prosecutions to further such criminal
 8       investigations or prosecutions;
 9             (2)   sharing       biometric        identifiers    or    biometric
10       information pursuant to federal law or regulation; or
11             (3)   sharing       biometric        identifiers    or    biometric
12       information pursuant to a valid warrant or subpoena issued
13       by a court of competent jurisdiction.
14       (f)   No    public      agency,     private    entity,    or    person   in
15   possession of a biometric identifier or biometric information
16   may disclose, redisclose, or otherwise disseminate a person's
17   or a customer's biometric identifier or biometric information,
18   unless:
19             (1)   the     subject    of    the    biometric     identifier      or
20       biometric information or the subject's legally authorized
21       representative consents to the disclosure or redisclosure;
22             (2)   the     disclosure       or    redisclosure    completes       a
23       financial        transaction      requested    or   authorized     by    the
24       subject     of    the   biometric     identifier     or   the   biometric
25       information;
26             (3) the disclosure or redisclosure is required under
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 1          federal law; and
 2                (4) the disclosure is required pursuant to a valid
 3          warrant    or   subpoena    issued       by   a   court      of   competent
 4          jurisdiction.
 5          (g) A public agency in possession of biometric identifiers
 6   or biometric information shall store, transmit, and protect
 7   from     disclosure     all     biometric       identifiers        and   biometric
 8   information in a manner that is the same as or more protective
 9   than the manner in which the public agency stores, transmits,
10   and protects other confidential and sensitive information.
11          (h)    A   private     entity    in     possession     of     a   biometric
12   identifier or biometric information shall:
13                 (1) store, transmit, and protect from disclosure all
14       biometric identifiers and biometric information using the
15       reasonable standard of care within the private entity's
16       industry; and
17                (2) store, transmit, and protect from disclosure all
18       biometric       identifiers        and   biometric      information      in   a
19       manner that is the same as or more protective than the
20       manner in which the private entity stores, transmits, and
21       protects other confidential and sensitive information.
22       (i) All information and records held by a public agency
23   pertaining to biometric identifiers and biometric information
24   shall be confidential and exempt from copying and inspection
25   under the Freedom of Information Act to all except to the
26   subject of the biometric identifier or biometric information.
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 1   The    subject       of     the     biometric         identifier        or    biometric
 2   information held by a public agency shall be permitted to copy
 3   and inspect only their own biometric identifiers and biometric
 4   information.


 5         Section 20. Right of action.
 6         (a) Any person aggrieved by a violation of this Act shall
 7   have a right of action in a State circuit court or as a
 8   supplemental        claim     in    federal         district      court      against    an
 9   offending      party.     A   prevailing           party    may     recover    for     each
10   violation:
11                (1) against any public agency or private entity that
12         negligently violates a provision of this Act, liquidated
13         damages of $1,000 or actual damages, whichever is greater;
14                (2) against any public agency or private entity that
15         intentionally or recklessly violates a provision of this
16         Act,    liquidated      damages         of    $5,000     or    actual      damages,
17         whichever is greater;
18                (3) reasonable attorneys' fees and costs, including
19         expert witness fees and other litigation expenses; and
20                (4) other relief, including an injunction, as the State
21         or federal court may deem appropriate.
22         (b)    For    the   purpose       of    this     Act,       "prevailing     party"
23   includes      any   party:        (i)   who    obtains       some     of   his    or    her
24   requested relief through a judicial judgment in his or her
25   favor; (ii) who obtains some of his or her requested relief
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 1   through any settlement agreement approved by the court; or
 2   (iii) whose pursuit of a non-frivolous claim was a catalyst for
 3   a unilateral change in position by the opposing party relative
 4   to the relief sought.


 5       Section 25. Home rule. The corporate authorities of a
 6   municipality   or   other   unit    of     local   government   may   enact
 7   ordinances,    standards,   rules,       or   regulations   that   protect
 8   biometric identifiers and biometric information in a manner or
 9   to an extent equal to or greater than the protection provided
10   in this Act. This Section is a limitation on the concurrent
11   exercise of home rule power under subsection (i) of Section 6
12   of Article VII of the Illinois Constitution.
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                  Exhibit B
                                            *LRB09519768RPM49426a*
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Sen. Terry Link



Filed: 4/11/2008




            09500SB2400sam004                            LRB095 19768 RPM 49426 a

     1                           AMENDMENT TO SENATE BILL 2400


     2            AMENDMENT NO. ______. Amend Senate Bill 2400, AS AMENDED,
     3      by replacing everything after the enacting clause with the
     4      following:


     5            "Section 1. Short title. This Act may be cited as the
     6      Biometric Information Privacy Act.


     7            Section   5.   Legislative     findings;   intent.   The    General
     8      Assembly finds all of the following:
     9            (a) The use of biometrics is growing in the business and
    10      security screening sectors and appears to promise streamlined
    11      financial transactions and security screenings.
    12            (b) Major national corporations have selected the City of
    13      Chicago and other locations in this State as pilot testing
    14      sites for new applications of biometric-facilitated financial
    15      transactions,    including    "Pay    By   Touch"   at   banks,   grocery
    16      stores, gas stations, and school cafeterias.
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 1        (c) Biometrics are unlike other unique identifiers that are
 2   used to access finances or other sensitive information. For
 3   example, social security numbers, when compromised, can be
 4   changed. Biometrics, however, are biologically unique to the
 5   individual; therefore, once compromised, the individual has no
 6   recourse, is at heightened risk for identity theft, and is
 7   likely to withdraw from biometric-facilitated transactions.
 8        (d) An overwhelming majority of members of the public are
 9   opposed to the use of biometrics when such information is tied
10   to personal finances and other personal information.
11        (e) Despite limited State law regulating the collection,
12   use, safeguarding, and storage of biometric information, many
13   members of the public are deterred from partaking in biometric
14   identifier-facilitated facility transactions.
15        (f) The public welfare, security, and safety will be served
16   by regulating the collection, use, safeguarding, handling,
17   storage, retention, and destruction of biometric identifiers
18   and information.


19        Section 10. Definitions. In this Act:
20        "Biometric    identifier"       means      any     indelible    personal
21   physical characteristic which can be used to uniquely identify
22   an individual or pinpoint an individual at a particular place
23   at   a   particular     time.    Examples      of    biometric   identifiers
24   include,   but    are   not     limited   to    iris    or   retinal   scans,
25   fingerprints,     voiceprints,      and     records     or   scans   of   hand
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 1   geometry, facial geometry, or facial recognition. Biometric
 2   identifiers     do    not      include    writing    samples,    written
 3   signatures,     photographs,       tattoo    descriptions,      physical
 4   descriptions,    or    human    biological   samples    used   for   valid
 5   scientific testing or screening. Biometric identifiers do not
 6   include donated organs, tissues, or parts as defined in the
 7   Illinois Anatomical Gift Act or blood or serum stored on behalf
 8   of recipients or potential recipients of living or cadaveric
 9   transplants and obtained or stored by a federally-designated
10   organ procurement agency. Biometric identifiers do not include
11   biological materials regulated under the Genetic Information
12   Privacy Act. Biometric identifiers do not include information
13   captured from a patient in a health care setting or information
14   collected, used, or stored for health care treatment, payment,
15   or operations under the federal Health Insurance Portability
16   and Accountability Act of 1996. Biometric identifiers do not
17   include an X-ray, roentgen process, computed tomography, MRI,
18   PET scan, mammography, or other image or film of the human
19   anatomy used to diagnose, prognose, or treat an illness or
20   other medical condition or to further valid scientific testing
21   or screening.
22        "Biometric information" means any information, regardless
23   of how it is captured, converted, stored, or shared, based on
24   an   individual's     biometric    identifier    used   to   identify   an
25   individual. Biometric information does not include information
26   derived from items or procedures excluded under the definition
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 1   of   biometric   identifiers.      Biometric     information   does    not
 2   include information captured from a patient in a health care
 3   setting or information collected, used, or stored for health
 4   care treatment, payment, or operations under the federal Health
 5   Insurance Portability and Accountability Act of 1996.
 6        "Confidential and sensitive information" means personal
 7   information that can be used to uniquely identify an individual
 8   or   an   individual's     account       or    property.    Examples    of
 9   confidential and sensitive information include, but are not
10   limited to, a genetic marker, genetic testing information, a
11   unique identifier number to locate an account or property, an
12   account number, a PIN number, a pass code, a driver's license
13   number, or a social security number.
14        "Legally effective written release" means informed written
15   consent or a release executed by an employee as a condition of
16   employment.
17        "Private    entity"   means     any      individual,   partnership,
18   corporation, limited liability company, association, or other
19   group, however organized. A private entity does not include a
20   public agency. A private entity does not include any court of
21   Illinois, a clerk of the court, or a judge or justice thereof.
22        "Public agency" means the State of Illinois and its various
23   subdivisions and agencies, and all units of local government,
24   school districts, and other governmental entities. A public
25   agency does not include any court of Illinois, a clerk of the
26   court, or a judge or justice thereof.
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 1        Section        15.       Retention;         collection;        disclosure;
 2   destruction.
 3        (a) A public agency or private entity in possession of
 4   biometric identifiers or biometric information must develop a
 5   written policy, made available to the public, establishing a
 6   retention schedule and guidelines for permanently destroying
 7   biometric       identifiers     and    biometric       information      when    the
 8   initial purpose for collecting or obtaining such identifiers or
 9   information      has   been    satisfied       or   within    3   years    of   the
10   individual's last interaction with the public agency or private
11   entity, whichever occurs first. Absent a valid warrant or
12   subpoena issued by a court of competent jurisdiction, a public
13   agency or private entity in possession of biometric identifiers
14   or   biometric     information        must    comply   with   its   established
15   retention schedule and destruction guidelines.
16        (b)   No    public   agency       or    private    entity    may     collect,
17   capture, purchase, receive through trade, or otherwise obtain a
18   person's or a customer's biometric identifier or biometric
19   information, unless it first:
20              (1) informs the subject in writing that a biometric
21        identifier or biometric information is being collected or
22        stored;
23              (2) informs the subject in writing of the specific
24        purpose and length of term for which a biometric identifier
25        or biometric information is being collected, stored, and
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 1       used; and
 2           (3)     receives    a     legally        effective       written    release
 3       executed by the subject of the biometric identifier or
 4       biometric information or the subject's legally authorized
 5       representative.
 6       (c) Subsections (a) and (b) of this Section do not apply to
 7   a public agency:
 8           (1)     engaged     in     criminal          investigations,       arrests,
 9       prosecutions, or law enforcement;
10           (2)      overseeing         pretrial           detention,        post-trial
11       commitment,      corrections               or      incarceration,         civil
12       commitment, probation services, or parole services;
13           (3)     serving     as     the     State       central    repository     of
14       biometrics for criminal identification and investigation
15       purposes;
16           (4)     furnishing       biometric          identifiers     or    biometric
17       information to a State or federal repository of biometrics
18       pursuant to State or federal law or municipal ordinance;
19           (5)     receiving        biometric          identifiers     or    biometric
20       information pursuant to State or federal law or municipal
21       ordinance;
22           (6) acting pursuant to a valid warrant or subpoena
23       issued by a court of competent jurisdiction;
24           (7)     issuing     driver's           licenses,    driver's       permits,
25       identification    cards        issued        pursuant    to     the    Illinois
26       Identification Card Act, or occupational licenses; or
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 1             (8)        performing        employee       background           checks    in
 2       accordance with the public agency's hiring policies or
 3       statutory obligations.
 4       Nothing in subsections (a) and (b) of this Section shall be
 5   construed      to    conflict        with    the    retention       and    collection
 6   practices for fingerprints, other biometric identifiers, or
 7   biometric information under the Criminal Identification Act,
 8   the Illinois Uniform Conviction Information Act, or the federal
 9   National Crime Prevention and Privacy Compact. Subsection (a)
10   of this Section does not apply to school districts; however, a
11   school    district       that        collects       biometric       identifiers      or
12   biometric      information       must       adopt    retention          schedules   and
13   destruction      policies       in    accordance       with       the    School   Code.
14   Subsection (a) of this Section does not apply to a fingerprint
15   vendor or fingerprint vendor agency; however, a fingerprint
16   vendor    or    fingerprint       vendor      agency       must    adopt    retention
17   schedules      and    destruction       polices       in   accordance        with   the
18   Private        Detective,       Private           Alarm,      Private       Security,
19   Fingerprint Vendor, and Locksmith Act of 2004.
20       (d) No public agency or private entity in possession of a
21   biometric identifier or biometric information may sell, lease,
22   trade, or otherwise profit from a person's or a customer's
23   biometric identifier or biometric information.
24       (e) No public agency or private entity in possession of a
25   biometric identifier or biometric information may disclose,
26   redisclose, or otherwise disseminate a person's or a customer's
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 1   biometric identifier or biometric information unless:
 2            (1)     the    subject    of     the    biometric        identifier     or
 3        biometric information or the subject's legally-authorized
 4        representative consents to the disclosure or redisclosure;
 5            (2)     the    disclosure       or     redisclosure       completes      a
 6        financial       transaction    requested        or    authorized      by   the
 7        subject    of     the   biometric    identifier        or    the    biometric
 8        information;
 9            (3) the disclosure or redisclosure is required by State
10        or federal law or municipal ordinance; or
11            (4) the disclosure is required pursuant to a valid
12        warrant    or     subpoena    issued       by   a    court    of    competent
13        jurisdiction.
14        (f) Nothing in subsections (d) or (e) of this Section shall
15   be construed to prohibit or inhibit a public agency (i) engaged
16   in   criminal    investigations,        arrests,         prosecutions,     or   law
17   enforcement, (ii) overseeing pretrial detention, post-trial
18   commitment, corrections or incarceration, civil commitment,
19   probation services, or parole services, (iii) serving as the
20   State    central       repository       of      biometrics        for     criminal
21   identification       and     investigation      purposes,     (iv)      furnishing
22   biometric identifiers or biometric information to a State or
23   federal repository of biometrics pursuant to State or federal
24   law, or (v) issuing driver's licenses, driver's permits, or
25   identification cards pursuant to the Illinois Identification
26   Card Act from:
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 1              (1)    sharing       biometric       identifiers       or     biometric
 2         information with another public agency engaged in criminal
 3         investigations, arrests, prosecutions, or law enforcement
 4         to   further       such     criminal       investigations,          arrests,
 5         prosecutions, or law enforcement;
 6              (2)   sharing    biometric         identifiers    or   biometric       or
 7         biometric      information        with      another      public       agency
 8         overseeing     pretrial      detention,        post-trial        commitment,
 9         corrections or incarceration, civil commitment, probation
10         services, or parole services;
11              (3)    sharing       biometric       identifiers       or     biometric
12         information pursuant to, or required by, State or federal
13         law; or
14              (4)    sharing       biometric       identifiers       or     biometric
15         information pursuant to a valid warrant or subpoena issued
16         by a court of competent jurisdiction.
17         (g) Nothing in subsections (d) or (e) of this Section shall
18   be    construed    to    conflict      with    the   reporting     and    sharing
19   practices for fingerprints, other biometric identifiers, or
20   biometric information under the Criminal Identification Act,
21   the    Illinois    Uniform      Conviction      Information       Act,    and   the
22   federal National Crime Prevention and Privacy Compact. Nothing
23   in    subsection   (d)     of   this    Section      shall   be   construed       to
24   conflict    with     the    reporting     and     sharing     practices      of    a
25   fingerprint      vendor    or   fingerprint       vendor     agency     under   the
26   Private      Detective,         Private        Alarm,    Private         Security,
     Case 2:20-cv-01082-JCC-MAT Document 25 Filed 09/14/20 Page 52 of 136



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 1   Fingerprint Vendor, and Locksmith Act of 2004.
 2          (h) Nothing in subsections (d) or (e) of this Section shall
 3   be construed to prohibit or inhibit a public agency that issues
 4   occupational licenses from:
 5              (1)    sharing       biometric           identifiers        or        biometric
 6          information      pursuant    to       or    when     required       by    State    or
 7          federal law; or
 8              (2)    sharing       biometric           identifiers        or        biometric
 9          information pursuant to a valid warrant or subpoena issued
10          by a court of competent jurisdiction.
11          (i) Nothing in subsections (d) or (e) of this Section shall
12   be   construed     to    prohibit       a    public        agency    from       performing
13   employee    background         checks       in     accordance       with     the    public
14   agency's hiring policies or statutory obligations.
15          (j) A public agency in possession of biometric identifiers
16   or biometric information shall store, transmit, and protect
17   from     disclosure      all    biometric           identifiers        and       biometric
18   information in a reasonable manner that is the same as or more
19   protective than the manner in which the public agency stores,
20   transmits,       and    protects        other           similar     confidential         and
21   sensitive    information        specific           to    that     public    agency.      The
22   storage, transmittal, and protection from disclosure standards
23   under this subsection (j) are solely the choice of the public
24   agency to adopt in accordance with this Act, other applicable
25   State or federal law, evolving advances in technology, budget
26   constraints, and comparable practices specific to that public
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 1   agency.
 2         (k)    A   private     entity    in     possession    of    a   biometric
 3   identifier or biometric information shall:
 4               (1) store, transmit, and protect from disclosure all
 5         biometric identifiers and biometric information using the
 6         reasonable standard of care within the private entity's
 7         industry; and
 8               (2) store, transmit, and protect from disclosure all
 9         biometric    identifiers        and   biometric      information    in    a
10         manner that is the same as or more protective than the
11         manner in which the private entity stores, transmits, and
12         protects other confidential and sensitive information.
13         (l) All information and records held by a public agency
14   pertaining to biometric identifiers and biometric information
15   shall be confidential and exempt from copying and inspection
16   under the Freedom of Information Act to all except to the
17   subject of the biometric identifier or biometric information.
18   The     subject    of      the   biometric      identifier       or   biometric
19   information held by a public agency shall be permitted to copy
20   and inspect only their own biometric identifiers and biometric
21   information.


22         Section 20. Right of action. Any person aggrieved by a
23   violation of this Act shall have a right of action in a State
24   circuit court or as a supplemental claim in federal district
25   court    against    an   offending     party.     A   prevailing      party   may
     Case 2:20-cv-01082-JCC-MAT Document 25 Filed 09/14/20 Page 54 of 136



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 1   recover for each violation:
 2              (1) against any public agency or private entity that
 3       negligently violates a provision of this Act, liquidated
 4       damages of $1,000 or actual damages, whichever is greater;
 5              (2) against any public agency or private entity that
 6       intentionally or recklessly violates a provision of this
 7       Act,    liquidated   damages     of    $5,000   or     actual   damages,
 8       whichever is greater;
 9              (3) reasonable attorneys' fees and costs, including
10       expert witness fees and other litigation expenses; and
11              (4) other relief, including an injunction, as the State
12       or federal court may deem appropriate.


13       Section 25. Construction. Nothing in this Act shall be
14   construed to impact the admission or discovery of biometric
15   identifiers and biometric information in any action of any kind
16   in any court, or before any tribunal, board, agency, or person.
17   Nothing in this Act shall be construed to conflict with the
18   X-Ray Retention Act or the federal Health Insurance Portability
19   and Accountability Act of 1996. Subcontractors or agents of a
20   public agency must comply with this Act to the extent and
21   manner this Act applies to that public agency.


22       Section    30.   Home   rule.    Any    home    rule    unit    of   local
23   government, any non home rule municipality, or any non home
24   rule county within the unincorporated territory of the county
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 1   may enact ordinances, standards, rules, or regulations that
 2   protect biometric identifiers and biometric information in a
 3   manner or to an extent equal to or greater than the protection
 4   provided in this Act. This Section is a limitation on the
 5   concurrent exercise of home rule power under subsection (i) of
 6   Section 6 of Article VII of the Illinois Constitution.


 7       Section 95. Applicability. This Act applies to private
 8   entities beginning on the effective date of this Act. This Act
 9   applies to public agencies beginning on January 1, 2011.


10       Section 99. Effective date. This Act takes effect upon
11   becoming law.".
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                  Exhibit C
                                               1111011)4i1J1111111111111111111t11
                                                                    111111111111111,1111111111111111111111
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Executive Committee



Filed: 5/28/2008




            09500SB2400ham001                               LRB095 19768 RPM 51505 a


     1                           AMENDMENT TO SENATE BILL 2400



     2           AMENDMENT NO.           . Amend Senate Bill 2400 by replacing

     3      everything after the enacting clause with the following:



     4           "Section   1.   Short   title.    This   Act   may be    cited   as   the

     5      Biometric Information Privacy Act.



     6           Section    5.   Legislative      findings;     intent.    The    General

     7      Assembly finds all of the following:

     8           (a) The use of biometrics is growing in the business and

     9      security screening sectors and appears to promise streamlined

    10      financial transactions and security screenings.

    11           (b) Major national corporations have selected the City of

    12      Chicago   and   other locations in       this   State   as pilot testing

    13      sites for new applications of biometric-facilitated financial

    14      transactions,    including    finger-scan       technologies    at    grocery

    15      stores, gas stations, and school cafeterias.

    16           (c) Biometrics are unlike other unique identifiers that are
     Case 2:20-cv-01082-JCC-MAT Document 25 Filed 09/14/20 Page 58 of 136



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 1   used to access finances or other sensitive information. For

 2   example,   social        security   numbers,       when   compromised,       can   be

3    changed. Biometrics, however, are biologically unique to the

 4   individual; therefore, once compromised, the individual has no

5    recourse, is at heightened risk for identity theft, and is

 6   likely to withdraw from biometric-facilitated transactions.

 7         (d) An overwhelming majority of members of the public are

 8   weary of the use of biometrics when such information is tied to

 9   finances and other personal information.

10         (e) Despite limited State law regulating the collection,

11   use, safeguarding, and storage of biometrics, many members of

12   the     public     are     deterred        from     partaking    in    biometric

13   identifier-facilitated transactions.

14         (f) The full ramifications of biometric technology are not

15   fully known.

16         (g) The public welfare, security, and safety will be served

17   by    regulating    the    collection,       use,     safeguarding,    handling,

18   storage, retention, and destruction of biometric identifiers

19   and information.



20         Section 10. Definitions. In this Act:

21         "Biometric    identifier"        means      a   retina    or    iris    scan,

22   fingerprint,     voiceprint,        or scan       of hand   or face    geometry.

23   Biometric identifiers do not include writing samples, written

24   signatures,      photographs,       human    biological     samples     used       for

25   valid    scientific       testing     or    screening,      demographic       data,
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 1   tattoo descriptions, or physical descriptions such as height,

 2   weight, hair color, or eye color. Biometric identifiers do not

3    include donated organs, tissues, or parts as defined in the

 4   Illinois Anatomical Gift Act or blood or serum stored on behalf

5    of recipients or potential recipients of living or cadaveric

 6   transplants and obtained or stored by a federally designated

 7   organ procurement agency. Biometric identifiers do not include

 8   biological materials regulated under the Genetic Information

 9   Privacy Act. Biometric identifiers do not include information

10   captured from a patient in a health care setting or information

11   collected, used, or stored for health care treatment, payment,

12   or operations under the federal Health Insurance Portability

13   and Accountability Act of 1996. Biometric identifiers do not

14   include an X-ray, roentgen process, computed tomography, MRI,

15   PET scan, mammography, or other image or film of the human

16   anatomy used to diagnose, prognose, or treat an illness or

17   other   medical   condition   or    to   further   validate   scientific

18   testing or screening.

19        "Biometric information" means any information, regardless

20   of how it is captured, converted, stored, or shared, based on

21   an   individual's    biometric     identifier   used   to   identify   an

22   individual. Biometric information does not include information

23   derived from items or procedures excluded under the definition

24   of biometric identifiers.

25        "Confidential   and   sensitive     information" means    personal

26   information that can be used to uniquely identify an individual
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 1   or     an   individual's         account        or     property.       Examples    of

 2   confidential and sensitive information include, but are not

3    limited to, a genetic marker, genetic testing information, a

 4   unique identifier number to locate an account or property, an

5    account number, a PIN number, a pass code, a driver's license

 6   number, or a social security number.

 7         "Private      entity"      means      any       individual,       partnership,

 8   corporation, limited liability company, association, or other

 9   group, however organized. A private entity does not include a

10   State or local government agency. A private entity does not

11   include any court of Illinois, a clerk of the court, or a judge

12   or justice thereof.

13         "Written release" means informed written consent or, in the

14   context of employment, a release executed by an employee as a

15   condition of employment.



16          Section         15.     Retention;            collection;         disclosure;

17   destruction.

18          (a) A private entity in possession of biometric identifiers

19   or biometric information must develop a written policy, made

20   available to the public, establishing a retention schedule and

21   guidelines       for    permanently       destroying        biometric    identifiers

22   and     biometric       information       when       the     initial    purpose   for

23   collecting or obtaining such identifiers or information has

24   been    satisfied       or   within   3    years     of     the   individual's    last

25   interaction with the private entity, whichever occurs first.
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 1   Absent       a    valid     warrant       or    subpoena         issued       by   a   court   of

 2   competent             jurisdiction,       a    private      entity       in    possession      of

3    biometric             identifiers    or       biometric         information        must    comply

 4   with     its          established        retention         schedule       and       destruction

5    guidelines
                       •
 6          (b)       No    private     entity       may    collect,        capture,        purchase,

7    receive through trade, or otherwise                             obtain    a person's or a

8    customer's             biometric     identifier            or    biometric         information,

 9   unless it first:

10                (1)        informs     the       subject      or    the   subject's          legally

11          authorized          representative          in      writing       that      a   biometric

12       identifier or biometric information is being collected or

13          stored;

14                (2)        informs     the       subject      or    the   subject's          legally

15          authorized          representative             in    writing      of     the     specific

16          purpose and length of term for which a biometric identifier

17          or biometric information is being collected, stored, and

18          used; and

19                (3) receives a written release executed by the subject

20          of the biometric identifier or biometric information or the

21          subject's legally authorized representative.

22          (c)       No     private     entity       in     possession        of       a   biometric

23   identifier or biometric information may sell, lease, trade, or

24   otherwise         profit from        a    person's         or    a customer's biometric

25   identifier or biometric information.

26          (d)       No     private     entity       in     possession        of       a   biometric
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 1   identifier or biometric information may disclose, redisclose,

 2   or otherwise disseminate a person's or a customer's biometric

3    identifier or biometric information unless:

 4             (1)   the     subject     of      the    biometric        identifier      or

5        biometric information or the subject's legally authorized

 6       representative consents to the disclosure or redisclosure;

7              (2)    the    disclosure        or      redisclosure        completes      a

8        financial        transaction      requested        or    authorized       by   the

 9       subject     of     the   biometric      identifier        or    the    biometric

10       information         or    the        subject's          legally        authorized

11       representative;

12             (3) the disclosure or redisclosure is required by State

13       or federal law or municipal ordinance; or

14             (4)   the    disclosure is required pursuant to a                     valid

15       warrant     or     subpoena     issued        by   a    court     of   competent

16       jurisdiction.

17       (e)    A    private      entity    in      possession      of     a    biometric

18   identifier or biometric information shall:

19             (1) store, transmit, and protect from disclosure all

20       biometric identifiers and biometric information using the

21       reasonable standard of care within the private entity's

22       industry; and

23             (2) store, transmit, and protect from disclosure all

24       biometric        identifiers      and    biometric        information      in    a

25       manner that is the same as or more protective than the

26       manner in which the private entity stores, transmits, and
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 1         protects other confidential and sensitive information.



 2         Section   20. Right of action. Any person aggrieved by a

 3   violation of this Act shall have a right of action in a State

 4   circuit court or as a supplemental claim in federal district

5    court    against   an   offending    party.      A    prevailing     party   may

 6   recover for each violation:

 7             (1) against a private entity that negligently violates

 8         a provision of this Act, liquidated damages of $1,000 or

 9         actual damages, whichever is greater;

10             (2)   against   a   private   entity       that   intentionally     or

11         recklessly violates a provision of this Act, liquidated

12         damages of $5,000 or actual damages, whichever is greater;

13             (3)   reasonable    attorneys' fees         and   costs, including

14         expert witness fees and other litigation expenses; and

15             (4) other relief, including an injunction, as the State

16         or federal court may deem appropriate.



17         Section 25. Construction.

18         (a) Nothing in this Act shall be construed to impact the

19   admission or discovery of biometric identifiers and biometric

20   information in any action of any kind in any court, or before

21   any tribunal, board, agency, or person.

22         (b) Nothing in this Act shall be construed to conflict with

23   the     X-Ray   Retention     Act,   the     federal        Health   Insurance

24   Portability     and   Accountability       Act   of    1996   and    the   rules
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 1   promulgated under either Act.

 2         (c) Nothing in this Act shall be deemed to apply in any

3    manner    to    a    financial     institution         or     an   affiliate     of    a

 4   financial institution that is subject to Title V of the federal

5    Gramm-Leach-Bliley          Act    of    1999    and    the    rules     promulgated

 6   thereunder.

 7         (d) Nothing in this Act shall be construed to conflict with

 8   the     Private      Detective,     Private       Alarm,       Private     Security,

 9   Fingerprint Vendor, and Locksmith Act of 2004 and the rules

10   promulgated thereunder.



11         Section       30.   Home    rule.    Any    home      rule    unit   of    local

12   government, any non-home rule municipality, or any non-home

13   rule county within the unincorporated territory of the county

14   may enact ordinances, standards, rules, or regulations that

15   protect biometric identifiers and biometric information in a

16   manner or to an extent equal to or greater than the protection

17   provided in         this Act.     This    Section is        a limitation        on   the

18   concurrent exercise of home rule power under subsection (i) of

19   Section 6 of Article VII of the Illinois Constitution.



20         Section 35. Biometric Information Privacy Study Committee.

21         (a) The Department of Human Services, in conjunction with

22   Central Management Services, subject to appropriation or other

23   funds    made     available       for    this    purpose,      shall     create      the

24   Biometric       Information       Privacy       Study       Committee,     hereafter
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 1   referred to as the Committee. The Department of Human Services,

 2   in conjunction with Central Management Services, shall provide

3    staff     and     administrative       support      to    the     Committee.          The

 4   Committee shall examine (i) current policies, procedures, and

5    practices used by State and local governments to protect an

 6   individual      against      unauthorized        disclosure      of        his   or   her

 7   biometric identifiers and biometric information when State or

 8   local government requires the individual to provide his or her

 9   biometric identifiers to an officer or agency of the State or

10   local    government;       (ii)   issues        related    to    the       collection,

11   destruction,        security,        and       ramifications          of     biometric

12   identifiers, biometric information, and biometric technology;

13   and (iii) technical and procedural changes necessary in order

14   to   implement       and     enforce       reasonable,         uniform       biometric

15   safeguards by State and local government agencies.

16        (b) The Committee shall hold such public hearings as it

17   deems    necessary     and    present      a   report     of    its    findings       and

18   recommendations to the General Assembly before January 1, 2009.

19   The Committee may begin to conduct business upon appointment of

20   a majority of its members. All appointments shall be completed

21   by   4   months    prior to    the    release      of the       Committee's final

22   report. The Committee shall meet at least twice and at other

23   times at the call of the chair and may conduct meetings by

24   telecommunication, where possible, in order to minimize travel

25   expenses. The Committee shall consist of 27 members appointed

26   as follows:
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 1            (1) 2 members appointed by the President of the Senate;

 2            (2) 2 members appointed by the Minority Leader of the

3        Senate;

 4            (3) 2 members appointed by the Speaker of the House of

5       Representatives;

 6            (4) 2 members appointed by the Minority Leader of the

 7       House of Representatives;

 8            (5) One member representing the Office of the Governor,

 9       appointed by the Governor;

10            (6) One member, who shall serve as the chairperson of

11      the   Committee,       representing        the Office       of   the    Attorney

12       General, appointed by the Attorney General;

13            (7) One member representing the Office of the Secretary

14       of the State, appointed by the Secretary of State;

15            (8)    One    member    from    each       of   the   following      State

16       agencies appointed by their respective heads: Department

17       of Corrections, Department of Public Health, Department of

18       Human   Services,       Central      Management       Services,        Illinois

19       Commerce Commission, Illinois State Police; Department of

20      Revenue;

21            (9) One       member   appointed       by the    chairperson       of the

22       Committee,        representing      the    interests       of   the    City   of

23       Chicago;

24            (10)   2 members       appointed       by the    chairperson       of the

25       Committee,         representing           the    interests        of      other

26       municipalities;
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 1             (11)   2 members   appointed    by the    chairperson        of the

 2       Committee, representing the interests of public hospitals;

3        and

4              (12) 4 public members appointed by the chairperson of

5        the   Committee,    representing     the    interests   of   the    civil

 6       liberties community, the electronic privacy community, and

7        government employees.

8        (c) This Section is repealed January 1, 2009.



 9       Section      99. Effective   date.   This    Act takes   effect upon

10   becoming law.".
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                373                                                                                      photochemical • pic
         photo-chem-i-cal                           add : of, relating to,    phys abbr 1 physical 2 physics
          or resulting from the chemical action of radiant energy            (phys-ic             n 1 : the profession of medicine 2
         pho-to-com-pose \-kam-`poz vb : to compose reading                    : MEDICINE; esp : PURGATIVE
          matter for reproduction by means of characters photo-              zphysic vb phya-icked; phys-idc-Ing : PUIWE 2
          graphed on film — pho-to-com-po-si-tion                            'phys-l-cal Vfi-zi-kah ad] 1 : of or relating to nature or
                  \ n                                                           the laws of nature 2 : material as opposed to mental or
         photo -copy 116-to,kii-01 n : a photographic reproduc-                spiritual 3 : of, relating to, or produced by the forces and
           tion of graphic matter — photocopy vb                               operations of physics 4 : of or relating to the body —
         pho-to-elec-tric \,f6-t6-Plek-trIk adi : relating to an elec-         phys-i-cal-ly  \-ko-NA     adv
          trical effect due to the interaction of light with matter —        2physical n : PHYSICAL EXAMINATION
          pho-to-elec-trl-cal-ly -tri-k(a-)15\ adv                            physical education n : instruction in the development
         photoelectric cell n : a device whose electrical properties           and care of the body ranging from simple calisthenics to
          are modified by the action of light                                  training in hygiene, gymnastics, and the performance and
         pho-to-en-grave VO-to-in-'grav vb : to make a photoen-                management of athletic games
          graving of                                                          physical examination n : an examination of the bodily
         photo-en-grav-Ing n : a process by which an etched print-              functions and condition of an individual
          ing plate is made from a photograph or drawing; also : a                                               vb -Ized; -iz-ing : to give
          print made from such a plate                                         physical form or expression to
         photo finish n : a race finish so close that a photograph of         physical science n : any of the sciences (as physics and
          the finish is used to determine the winner                           astronomy) that deal primarily with nonliving materials
         pho-tog \fa-kAg\ n PHOTOGRAPHER                                        — physical scientist n
         photo -genic                     adf : eminently suitable esp.       physical therapy n : the treatment of disease by physical
          aesthetically for being photographed                                 and mechanical means (as massage, exercise, water, or
         photo -graph Vfo-ta-,graf), n : a picture taken by photog-            heat) — physical therapist n
          raphy — photograph vb — pho-tog-ra-pher kfo-474-gur-                physi-cian fo-'zi-shan), n : a doctor of medicine
          far n                                                               physician's assistant n : a person certified to provide
         pho-tog-ra-phy \ faJtgi-gra-fe n : the art or process of pro-         basic medical care usu. under a licensed physician's su-
          ducing images on a sensitive surface (as film or a CCD               pervision
          chip by the action of light — pho-to-graph-ic Vo-to-'gra-           phys-i-cist \11-za-sist\ n : a scientist who specializes in
          fik ad] — pho-to-graph-l-cal-ly 1-fi-k(a-)I8\adv                     physics
         pho-to-gra-vure1,16-ta-gra-'vyarl n : a process for making           phys-ics\li-ziks1n [Lphysica, pl., natural sciences, fr. Gk
          prints from an intaglio plate prepared by photographic               physika, fr. physis growth, nature, fr. phyein to bring
          methods                                                              forth] 1 the science of matter and energy and their in-
         photo-11-thospra-phy 1,f64.8-1Ptha-gra-fE1 n : the process             teractions 2 : the physical properties and composition of
          of photographically transferring a pattern to a surface for          something
          etching (as in making an integrated circuit)                        phys-i-og-no-rny                         n, pl -mles : facial ap-
         pho-torn-e-ter 1f6-'tii-ma-tar1 n : an instrument for mea-            pearance esp. as a reflection of Inner character
          suring the intensity of light — pho-to-met-ric 151.6-ta-'me-        phys-i-og-ra-phy Vi-ze-'1-gra-fe n : geography dealing
          trik), adi — pho-tom-e-try 1f6-41-m a-treN n                         with physical features of the earth — phys-io-graph-ic
         pho-to-mi-cro-graph )46-taJmi-kra-,graf1 n : a photo-                 Vi-ze-O-'gra-Hk art
          graph of a microscope image — pho-tomil-crog-ra-phy                 phys-1-431-o-gy                    n 1 : a branch of biology
                            n                                                  dealing with the functions and functioning of living mat-
         pho-ton1.16-.tan‘ n : a quantum of electromagnetic radia-              ter and organisms 2 : functional processes in an organ-
          tion                                                                 ism or any of its parts —                            -zk-a-gii-ji-
         photo op n : a situation or event that lends itself to the            kall or phys-i-o-log-ic 1 jfkl adJ —
          taking of pictures which favor the individuals photo-                 \-ji-k(a-)I8\adv —                                     n
          graphed                                                             PhY8•10-1her-a•PY Vi -ze- Other- o-Pe n : PHYSICAL THER-
         pho-to-play 116-t6,p1111 n : MOTION PICTURE                           APY — phys-io-ther-a-plst 1-pist), n
         pho-to-sen-si-tIve \,f6-taJsen-sa-tiv), ad] : sensitive or sen-      physique \fa-'zek\ n : the build of a person's body : bod-
          sitized to the action of radiant energy                              ily constitution
         pho-to•sphere Vf6-to-ofirI n : the luminous surface of a             phy-to-cham-i-cal 1,1146-'ke-rni-kal), n : a chemical com-
          star — pho-to-spheric \,f6-ta-'sfir-ik, -'sfer-1adj                  pound occurring naturally in plants
         pho-to-syn-thesis \,(646-'sin-tha-sas\ n : the process by            phy-to-plank-ton Wi-to,plank-tan n : plant life of the
          which chlorophyll-containing plants make carbohydrates               plankton
          from water and from carbon dioxide in the air in the pres-          pi Vp1\ n, p1pis Vpizsk 1 : the 16th letter of the Greek al-
          ence of light — pho-to-syn-the-size \            vb — pho-to-        phabet — H or a 2 : the symbol a denoting the ratio of
          syn-thet-lc 1-sin'the-tikl ad]                                       the circumference of a circle to its diameter; also : the
         phr abbr phrase                                                       ratio itself equal to approximately 3.1416
      ', phrase Vfraz), PI 1 : a brief expression 2 : a group of two          PI abbr private investigator
          or more grammatically related words that form a sense                                                     adv or ad] : very softly —
          unit expressing a thought                                            used as a direction in music
      2phrase vb phrased; phras-Ing : to express in words                     pl.a.nist \p6-"a-nist,           n : a person who plays the
         phraseml-o-gy                       n, pl -gies : a manner of         piano
          phrasing : STYLE                                                              \pOti-nb‘, adv or adj : SOFTLY — used as a direc-
         phrasing n : style of expression                                      tion in music
         p hre-net-i c archaic tar of FRENETIC                               2piano Npe-'a-nal n, pl pianos [It, short for pianoforte, fr.
        phren-ic Vire-Mk \ ad/ : of or relating to the diaphragm               grcrvicembalo col piano e forte, lit., harpsichord with soft
          <•-•-• nerves)                                                       and loud; fr. the fact that its tones could be varied in
         phre-nol-o-gy                  n : the study of the conforma-         loudness] : a musical instrument having steel strings
          tion of the skull based on the belief that it indicates men-         sounded by felt-covered hammers operated from a key-
          tal faculties and character traits                                   board
        phy-lac-tery                   n, p1 -ter-ies 1 : one of two          piano-forte                        -te; We-no-J.5ft\ n : PIANO
          small square leather boxes containing slips inscribed with          pl.as.tre also pi-as-ter \Was -tar\ n — sec pound at
          scripture passages and traditionally worn on the left arm            MONEY table
          and forehead by Jewish men during morning weekday                   pi•az.za \p0a-z2, esp for I 'at -sal n, pi piazzas or pl-az-
          prayers 2 : AMULET                                                   ze \-"at-(,)sa,       [It, fr. L platea broad street] 1 : an
        phy-lum 1'f1-lam it. pl phyla              [NL, fr. Gk phylon          open square esp. in an Italian town 2 : a long hall with
          tribe. race] : a major category in biological classification         an arched roof 3 dial : VERANDA, PORCH
          esp. of animals that ranks above the class and below the            pl-broch               n : a set of variations for the bagpipe
          kingdom; also : a group (as of people) apparently of com-           plc Vpik \ n, p1 pits or plx 1'piks1 1 : PHOTOGRAPH 2
          mon origin                                                           : MOTION PICTURE
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                                                                 Page 1
                     IN THE CIRCUIT COURT OF THE
                    TWENTY-THIRD JUDICIAL CIRCUIT
                   DEKALB COUNTY, CHANCERY DIVISION



      BRENT CAMERON, Individually,            )
      and on behalf of all others             )
      similarly situated,                     )
                                             )
                                             )
                  Plaintiffs,                )
                                             )
           vs.                               ) No. 2019-CH-000013
                                             )
                                             )
      POLAR TECH INDUSTRIES, INC.,            )
      and ADP LLC,                            )
                                             )
                                             )
                  Defendants.                )



                       TRANSCRIPT OF PROCEEDINGS at the

             hearing of the above-entitled cause before THE

             HONORABLE BRADLEY WALLER, Judge of said Court,

             in Room 300 of the Dekalb County Courthouse,

             133 West State Street, Sycamore, Illinois, on

             August 23, 2019, at the hour of 10:00 a.m.




      REPORTED BY:      Nohemi Salazar-Pitts, CSR
      LICENSE NO.:      084-4648
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18

19                           Appeared on behalf of Defendant
                             Polar Tech Industries, Inc.
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24
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                                                                 Page 3
 1                THE COURT:     All right.

 2                THE CLERK:     Cameron v Polar Tech.

 3                THE COURT:     Do you want to stay there?

 4    You don't have to.

 5                MR. LAYDEN:     Whatever you prefer, your

 6    Honor.

 7                THE COURT:     As long as you speak up, I

 8    have no problem if you'd like to stay right there.

 9                     I'd like you to identify yourselves

10    from my left to my right, please.

11                MR. BOWERS:     Thomas Bowers on behalf of

12    Polar Tech.

13                MR. LAYDEN:     Good morning, your Honor.

14    David Layden on behalf of ADP.

15                MS. JENKINS:     Haley Jenkins on behalf of

16    the Plaintiffs.

17                MR. STEPHAN:     Good morning, Judge.        Ryan

18    Stephan on behalf of Plaintiffs.

19                THE COURT:     Did you have something you

20    wanted to tender to me?

21                MR. LAYDEN:     No, your Honor.      If you

22    prefer that we step up, we're happy to do it.

23    Whatever you'd like us to do.

24                THE COURT:     Whatever you guys want to do.
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                                                                 Page 4
 1    If you want to have a seat and argue from there,

 2    that's perfectly fine.         All right?

 3                     So what's before the court is motions

 4    to dismiss.      Polar Tech has brought a motion under

 5    2-619.1, which, we all know, is a dual motion

 6    including 615 and 619.         Essentially, their motion

 7    is predicated under (a)(5) statute of limitations

 8    issue as well as long as (a)(9), and then ADP has

 9    filed a 2-615 motion.        There is joint response

10    filed by the Plaintiff.         There's respective

11    replies.     I have had the opportunity to review

12    everything.

13                     Who would like to go first on the

14    Defendants' side?

15                MR. LAYDEN:     Your Honor --

16                THE COURT:     And you can have a seat, by

17    the way.     You don't have to stand.         Thank you.

18                MR. LAYDEN:     Your Honor, we flipped a

19    coin, and I will go first.

20                THE COURT:     All right.

21                MR. LAYDEN:     Your Honor, as -- and I will

22    obviously repeat a little bit just to try to

23    summarize the high points.          ADP's motion first, of

24    all directed, at the Section 15(b) claim of BIPA,
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                                                                 Page 5
 1    which is the portion of BIPA which requires that

 2    an entity collecting biometric information covered

 3    by the statute provide written notice and consent

 4    and obtain written consent or written release.

 5                     Your Honor, the basis for our motion

 6    is that the way that the plain language of the

 7    statute is structured, you read the entire

 8    statute, you focus on 15(b), is that 15(b) applies

 9    only to the entity, we think, collecting the data.

10    This is not applied to any entity that is in

11    possession of the data.

12                     And our position is in this case the

13    Plaintiff has alleged, and it's practically

14    Plaintiff's employer, Polar Tech, which actually

15    collected the data.        And obviously the employer

16    had control of the workplace, which required that

17    its employees use the biometric and therefore is

18    the collector.

19                     We certainly, of course, as we

20    indicate, don't think it is a valid claim against

21    Polar Tech, but we do believe that if anyone is

22    subject to 15(b), it would be Polar Tech.             We

23    think that that is clear from the plain language

24    of statute.
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                                                                 Page 6
 1                     It's also important, Judge, to focus

 2    on the definition of "written release," which is

 3    set forth in BIPA, which provides that a written

 4    release in the context of employment is a release

 5    executed as a condition of employment.

 6                     And we think, your Honor, that that

 7    further affirms our reading of the statute, which

 8    is that when you have an employer using biometric

 9    technology in the workplace that is covered by the

10    statute, that it is the employer's job to obtain

11    and to provide written notice to get the consent.

12                     Plaintiff's position as set forth in

13    their response is basically that any entity that

14    comes into possession of biometric data at any

15    point in time is subject to 15(b).            We don't think

16    that's right, your Honor, because, first of all,

17    it would serve to destroy the careful distinction

18    that the general assembly made in using words like

19    "collect" versus "possess."

20                     If that's really what the legislature

21    intended, they would have just simply said "any

22    entity coming into possession of biometric data

23    needs to get notice and get consent."            That's not

24    what the legislation said, and we think that's
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                                                                 Page 7
 1    very important to recognize.

 2                     The Plaintiffs also focused on the

 3    word "obtain," or actually it said the words

 4    "otherwise obtain" at the end of 15(b), and

 5    suggested that that's essentially just akin to

 6    coming into possession.         We don't agree with them,

 7    first of all, in line with what I just said, which

 8    is that it would collapse the distinction that the

 9    legislature made.

10                     And second of all, the word

11    "otherwise obtain" comes at the end of a string of

12    other words, "capture," "collect," which all

13    involve, essentially, an active process of

14    obtaining information from the actual individual

15    who has the biometric data, and therefore we think

16    that it needs to be read consistently with that,

17    meaning an interaction with the person who has the

18    biometric data and the opportunity to give notice

19    and obtain release, if that is required.

20                     And for all those reasons, we don't

21    believe that the 15(b) claim can stand.             And if

22    you look at the complaint, your Honor, it's pretty

23    clear that the specific allegations in the

24    complaint are that Polar Tech was the entity
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                                                                 Page 8
 1    collecting.

 2                     Certainly, the Plaintiff has included

 3    some general allegations that each Defendant or

 4    that Defendants actively collected.            But I think

 5    if you look at the Plaintiff's theory of the case

 6    is that Polar Tech used the clock in the workplace

 7    to obtain the employees' biometric information and

 8    then it was later, according to Plaintiffs,

 9    disclosed to ADP, meaning that ADP was not

10    collecting; ADP was receiving it afterwards.

11    That's the theory that we believe is set forth in

12    the complaint.       And we believe that that

13    forecloses the Plaintiff from a pleading, a claim,

14    against ADP under Section 15(b).

15                     We also would move to dismiss the

16    Section 15(a) claim, your Honor, and that is the

17    one that requires an entity in possession of

18    biometric information covered by the statute to

19    develop a written retention policy.

20                     Your Honor, as we have set forth in

21    our brief, the Plaintiff had argued initially that

22    ADP violated it by not providing the policy to

23    Plaintiff.      That's not what the statute requires.

24    The Plaintiff seems to have now backed off a
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                                                                 Page 9
 1    little bit and said we have to have a policy.

 2    And, your Honor, first of all, that's not what the

 3    statute requires.       The statute actually has

 4    different language.        It says you must develop,

 5    which to us means plainly that when you come into

 6    possession of biometric information, you then must

 7    develop a policy.

 8                     And I think just to be clear here,

 9    your Honor -- and we haven't raised a 619 motion,

10    so this may have to be a summary judgment issue if

11    we don't prevail today on this.           But ADP had a

12    biometric policy in effect in October 2017.              The

13    Plaintiff started working in early 2018, so there

14    is not going to be a Section 15(a) claim against

15    ADP unless the Plaintiff is going to challenge the

16    efficacy of the policy.         I don't understand them

17    doing so, but we may have to get to that.

18                     So we think that the 15(a) claim

19    fails to state a claim because they just haven't

20    alleged that ADP violated that section of BIPA.

21                     And then, your Honor, finally, that

22    leaves us with the alleged claim under 15(d),

23    which is the section of BIPA that deals with

24    disclosure/disseminations.          And here what we
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                                                               Page 10
 1    really have is a very conclusory obligation.

 2                     In parts of their Complaint, the

 3    Plaintiff alleges that Polar Tech has collected

 4    and then disclosed to ADP.          But then they say,

 5    well, ADP also disclosed to cloud storage

 6    providers and other vendors.          It's actually not

 7    true, but for purposes of their pleading, our

 8    position is that they haven't pled that that's the

 9    issue.

10                THE COURT:     Can I ask you a question?

11                MR. LAYDEN:     Certainly, your Honor.

12                THE COURT:     My understanding is that you

13    concede in your, I think it's your reply, I could

14    be wrong, that there was a -- it was transmitted

15    to a third-party storage provider.

16                MR. LAYDEN:     Your Honor, I don't think we

17    did, and if we did, we misspoke, and so I

18    apologize for that.        I can tell you also --

19                THE COURT:     I want to be accurate.

20                MR. LAYDEN:     Sure.    Of course.     I can

21    tell you, and I realize that we're stepping a

22    little bit outside pleadings, your Honor; but ADP

23    does not disclose or give data to anyone else.

24    The data -- any data that ADP gets stays at ADP.
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                                                               Page 11
 1                     Plaintiffs, obviously, are entitled

 2    to allege that, but I just -- I'm telling you what

 3    the facts will ultimately show.

 4                THE COURT:     Just give me a moment because

 5    I do not want to state something that is

 6    inaccurate.

 7                     It must have been with the -- I

 8    apologize.      It must have been what the Plaintiff

 9    had alleged, because I'm looking at your reply and

10    I do not see it in here.         As a matter of fact, you

11    can test that.

12                     So go ahead.

13                MR. LAYDEN:     Very well, your Honor.        So

14    basically the -- so putting aside what actually

15    happened, because I appreciate in the 615 motion,

16    you need to deal with the specific facts alleged.

17    We understand that.        There is no -- there are no

18    specific facts alleged as to a

19    disclosure/dissemination.

20                     And even if -- this is obviously

21    assuming, because it's not true.           Even if they

22    could allege that ADP had disseminated it to a

23    cloud storage provider, our view is that is not a

24    disclosure/dissemination because -- for two
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                                                               Page 12
 1    reasons:     A, the dictionary definition of

 2    disclosure or disseminating would mean essentially

 3    to reveal something.        It's to reveal to someone

 4    who does not have a right to have it.

 5                     And the cloud storage provider simply

 6    provided, essentially, an administrative service,

 7    and it would be a significant expansion of BIPA to

 8    say that any time a cloud storage provider is ever

 9    provided data that there needs to be, essentially,

10    disclosure consent.

11                     And, actually, taking Plaintiff's

12    theory to the actual logical conclusion, I think

13    they would say that 15(b) applies to cloud storage

14    providers.      So if anyone ever were to switch

15    storage providers, they would have to somehow get

16    back and go to all the people who they collected

17    data from and get that information including

18    former employees.       So I think it becomes one

19    whirlpool very, very quickly.

20                     So, your Honor, we're not contending

21    that, you know -- as Plaintiff said that, you

22    know, that ADP could do whatever they want with

23    this data, but they can't give it to -- you know,

24    they can't sell it, they can't provide it to
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                                                               Page 13
 1    people who -- for purposes other than what it has

 2    been collected for.

 3                     But even assuming -- again, it's not

 4    true, but even assuming ADP had used a cloud

 5    storage provider, we don't believe that it

 6    constitutes a disclosure or dissemination under

 7    the statute.

 8                     As a matter of fact, it is in

 9    Section 15(b) of the statute, a provision talks

10    about what happens when you transmit data and how

11    you have to deal with it when you transmit it, and

12    then if you transmit it, you're not allowed to

13    disclose it, which to us is further confirmation

14    that not every transmission of data to someone

15    else constitutes disclosure, because otherwise

16    that section doesn't make any sense.

17                     So, your Honor, for those reasons --

18    and I'm obviously happy to answer any further

19    questions you have -- we don't believe that the

20    complaint alleges a sufficient claim under BIPA

21    against ADP, and we would ask that it be dismissed

22    with prejudice.

23                THE COURT:     And you're also moving to

24    dismiss the common law negligence count as well,
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                                                               Page 14
 1    correct?

 2                MR. LAYDEN:     Your Honor, we are.       And

 3    obviously Plaintiff's counsel can address this.

 4    I don't understand they're proceeding on that, at

 5    least in other cases they have dropped that claim

 6    post Rosenbach.       But we are -- to the extent they

 7    are proceeding on that, we are, in fact, proposing

 8    it for the reasons that we have said at this time.

 9                THE COURT:     And you are also saying that

10    the statute of limitations issue which was raised

11    by the co-Defendant is premature at this point

12    because the named Plaintiff, whether you pick the

13    one-, two-, five-year statute of limitation, was

14    filed, even in the worst case, within the one-year

15    statute of limitations; is that correct.

16                MR. LAYDEN:     Your Honor, that is ADP's

17    view.    I don't want to step on Polar Tech's toes.

18                THE COURT:     I'm not -- no.      I'm the one

19    bringing it up, so you're not stepping on their

20    toes.

21                MR. LAYDEN:     You're right.      That is what

22    we believe to be the case.          But obviously Polar

23    Tech has a relationship with the Plaintiff, and

24    they are aware, obviously, of the facts relating
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                                                               Page 15
 1    to his employment status.          So we are just not in

 2    the position to say that, but based on the briefs,

 3    that is what we believe.

 4                THE COURT:     Okay.    Very good.

 5                     All right.     The way I'm going to

 6    handle this is that I'm going to allow you to

 7    respond to ADP, and then you get the last word on

 8    your motion, and then we will move to Polar Tech.

 9                     You're up.

10                MS. JENKINS:     Thank you, your Honor.        ADP

11    is essentially claiming that only certain sections

12    of BIPA don't apply to it, but the plain language

13    of the statute makes clear that it applies to all

14    private entities that come into possession or that

15    obtained this data, and to private entities as

16    defined by the statute.

17                THE COURT:     Can I ask you this question?

18    What data is ADP actually acquiring?

19                MS. JENKINS:     Well, your Honor, ADP is

20    the manufacturer of the clock, the manufacturer of

21    the software, and is additionally supporting the

22    services, and they're obtaining whatever data that

23    clock is taking from the Plaintiff.            So when he

24    puts his fingerprint on the clock and it takes
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                                                               Page 16
 1    that fingerprint data from him, that's the data

 2    that they're obtaining.

 3                THE COURT:     Okay.    But -- and I know a

 4    little bit about this, I think, but, I mean,

 5    there's different ways to obtain data.             So you can

 6    have the data that I think is contemplated by the

 7    statute which is that you have somebody's

 8    biometric information in the form of a fingerprint

 9    or a retina scan, et cetera, as defined, or you

10    can have data that -- I don't know if you're

11    familiar with the terminology of a hash function

12    where a hash function is essentially, as I have

13    always looked at it as, is it's kind of like

14    gibberish, it's encrypted, it's something that --

15    it's like, you know, your password.

16                     So if you type in your password, you

17    know, "I love mom," the hash function recognizes

18    that, but it doesn't recognize it word-for-word.

19    So it seems to me it begs the first question:

20    What data, in your view, is ADP actually acquiring

21    from your client?

22                MS. JENKINS:     Well, your Honor, the first

23    part is that they may be acquiring his actual

24    biometric identifier, his actual fingerprint; but
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                                                               Page 17
 1    the statute also contemplates biometric

 2    information, which is any information derived from

 3    that fingerprint.

 4                     So even if -- and I'm going to

 5    anticipate ADP would argue that they're collecting

 6    some encrypted mathematical template of his -- of

 7    the fingerprint scan the Plaintiff puts on the

 8    time clock.      But that is biometric information,

 9    and that is data that they're collecting.

10                THE COURT:     So you think the statute is

11    broad enough to encompass and include encrypted or

12    hash functions?

13                MS. JENKINS:     I do.

14                THE COURT:     Go ahead.

15                MR. STEPHAN:     And, Judge, if I can add

16    one thing on that.

17                THE COURT:     Yes.

18                MR. STEPHAN:     And this is sort of how

19    computers work, right?         If you look at any image

20    on your computer, there are numbers behind it.

21    That's how the computers communicate.            So they

22    don't -- it's not like a hard copy fingerprint

23    that you would see at a police office.             So it's

24    how computers communicate, and we clearly believe
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                                                               Page 18
 1    that's contemplated by the statute.

 2                THE COURT:     But, to your point, they

 3    communicate by use of digits, they communicate by

 4    use of codes.      So, you know, you could look at the

 5    data collected by virtue of the fingerprint or the

 6    retina scan and have absolutely no idea what

 7    you're looking at.

 8                     You believe that's contemplated by

 9    the statute?

10                MR. STEPHAN:     Well, I don't believe that

11    your first part of that is necessarily accurate.

12    Anything that is encrypted can be unencrypted, and

13    oftentimes numbers represent other things.              So we

14    do feel like that is included by the statute and

15    we feel that it is under the definition of

16    biometric information covered by the statute.

17                THE COURT:     What section would you direct

18    my attention to, of the statute?

19                MS. JENKINS:     In Section 14/10 is the

20    definition of biometric information.

21                THE COURT:     So your position is

22    biometric -- the biometric identifier and the

23    biometric information, those two coupled together

24    would include encrypted/unencrypted, hash
Case 2:20-cv-01082-JCC-MAT Document 25 Filed 09/14/20 Page 92 of 136


                                                               Page 19
 1    functions, et cetera?

 2                MS. JENKINS:     Yes.

 3                THE COURT:     And your position would be

 4    under biometric information means any information

 5    regardless of how it's been captured, converted,

 6    stored, or shared?

 7                MS. JENKINS:     Exactly.

 8                THE COURT:     Go ahead.     By the way, do you

 9    have the case on that?

10                MS. JENKINS:     I'm sorry?

11                THE COURT:     Do you have a case or cases

12    on that?

13                MS. JENKINS:     Not yet.     It's still being

14    litigated.

15                     But, your Honor --

16                THE COURT:     I don't ask questions I don't

17    know answers to, but ahead.

18                MS. JENKINS:     So, your Honor, I think one

19    of the important things to remember is that ADP

20    bases its entire business model on the fact that

21    it's collecting this data, sets out to collect

22    this data because it creates the time clocks that

23    do it and software that goes along with it.              It

24    integrates those programs into it's various HR and
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                                                               Page 20
 1    payroll functions that it provides to various

 2    employers, and it profits from all of this.

 3                     So to call them not a collector of

 4    the data, we just think would simply inaccurate.

 5    It's actually one of the biggest collectors of

 6    this type of data, which means it should be the

 7    most knowledgeable in this space, the most

 8    experienced.      It's one of the most vulnerable if

 9    attacked, and it's the most culpable here as well.

10    And yet they did nothing absolutely to comply with

11    BIPA.

12                     We are at a Section 2-615 motion to

13    dismiss stage, and if you look simply at the

14    pleadings with respect to Section 15(a), we

15    allege, and ADP hasn't really disputed that they

16    possessed the Plaintiff's biometric data.

17                     We alleged that they didn't have a

18    written publically available retention and

19    destruction policy, and if discovery bears out

20    that they might have produced that prior to the

21    Plaintiff's employment, so be it, but we are

22    talking about the allegations in the pleadings

23    right now; and under the pleadings and within the

24    boundaries of the complaint, we have properly
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                                                               Page 21
 1    alleged a claim with respect to 15(a).

 2                     With respect to Section 15(b), we

 3    have alleged, and they don't really dispute it,

 4    that they failed to provide the requisite notice

 5    under BIPA and they failed to obtain a written

 6    release from our client, all before collecting his

 7    biometric data.       Instead, they just want to write

 8    themselves out of the statute, but as we stated

 9    before, Section 15(b) applies uniformly to all

10    private entities that collect, capture, or

11    otherwise obtain this data.

12                THE COURT:     How would ADP have any sort

13    of privity or the ability to effectuate the

14    elements under B?       In other words, it talks about

15    that has to be obtained before the collection of

16    the data, correct?        So how would they be in a

17    position to do that?

18                MS. JENKINS:     They could easily implement

19    on their own device, you know, a pop-up screen

20    that comes up when the Plaintiff or another

21    individual first uses the device that says, you

22    know -- it has BIPA-compliant written disclosure

23    and asks for their written consent to do so.

24                     They could also require their
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                                                               Page 22
 1    customers, the employers, to include them on any

 2    BIPA-complaint disclosure and a release that they

 3    provide to their employees prior to collecting the

 4    data.

 5                     There are a number of ways that they

 6    could comply with the statute, but they have

 7    chosen not to.       They then want the Court to

 8    believe that collection rests only with the

 9    employer, but this position just simply makes no

10    sense.

11                     That would be like saying, when the

12    minister passes around the collection plate at

13    church, only the minister is collecting the money

14    and not the church, and we all know that that's

15    not true; and that's not how data works in our

16    day-to-day lives either.         It doesn't stay with the

17    initial collector.        No data that you provide to

18    one, you know, company or to one venue generally

19    stays with that.       It's disseminated across several

20    platforms and integrated into other platforms, as

21    ADP well knows.

22                     And with respect, again, to

23    Section 15(d), we have alleged that they had

24    disclosed or disseminated the Plaintiff's
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                                                               Page 23
 1    biometric data to third parties.           And the biggest

 2    contention is that the conclusions -- or their

 3    allegations are conclusory, but we can't be

 4    expected to know at the pleading stage where

 5    everything that they have disclosed has gone and

 6    who it's gone to.

 7                     But we do know from our own

 8    investigation and from our experience in this

 9    field that the data is shared or at least able to

10    be accessed across a number of different platforms

11    by a number of different parties.

12                     Again, if discovery bears out that an

13    allegation turns out not to be fruitful, that's an

14    issue for a different time.          Based on the

15    pleadings we have alleged that ADP violated

16    Section 15(d).       ADP also claims that Section 15(d)

17    requires some sort of public disclosure of

18    Plaintiff's data, but the plain text of BIPA does

19    not require that.       It just requires that it be

20    disseminated or disclosed to a third party.

21                     You could disclose something to a

22    third party without making it known to the public

23    at large, which is what we have alleged that they

24    have done here.
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                                                               Page 24
 1                     So, again, your Honor, I think it's

 2    important to consider that we're still at the

 3    pleading stage, and based on the allegations in

 4    the Complaint the Plaintiff has properly alleged

 5    the violations of Sections 15(a), (b), and (d) of

 6    BIPA with respect to ADP.

 7                THE COURT:     Anything else?

 8                MS. JENKINS:     Not unless you have

 9    questions.

10                THE COURT:     Do you have anything?

11                MR. STEPHAN:     No, Judge.     Thank you.

12                THE COURT:     Okay.    You get the last word.

13    It's your motion.

14                MR. LAYDEN:     Thank you, Judge.

15                     So just to re-respond, and

16    actually -- well, to your questions and also to

17    what Plaintiff's counsel said; first of all, the

18    way the technology works, there is no fingerprint

19    involved.     The scanning function essentially

20    measures -- it's much, much less precise than a

21    law enforcement fingerprint, so anything that you

22    may have seen on TV or what we think of as actual

23    fingerprints, it's not involved here.

24                     The scanning essentially measures a
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                                                               Page 25
 1    few points on the fingertip, on a portion of the

 2    fingertip.      It then creates this mathematical

 3    template that your Honor referenced; it's

 4    encrypted, it's just a series of hexadecimal

 5    numbers.     That's all that it is.        There's no

 6    fingerprint stored, there's no image of the

 7    fingerprint stored.        It's just a series of

 8    numbers.     So that's what we're dealing with here.

 9                     And, your Honor, we certainly

10    disagree, and I think I may have previewed this a

11    little bit in my opening remarks.           We don't

12    believe this technology is covered by the statute.

13    We do believe, though, that there probably is

14    going to be summary judgment issues as opposed to

15    a -- or maybe a trial issue as opposed to a motion

16    to dismiss issue.

17                     So we're not at all conceding that

18    it's covered, and, your Honor, I think your

19    question goes to one of the key arguments we're to

20    be raising, which is it just simply isn't covered.

21                     A couple of other points just to

22    respond to what Plaintiff's counsel said, it's

23    actually not true that ADP manufactures the

24    clocks.     ADP doesn't.     ADP buys the clocks from a
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                                                               Page 26
 1    company called Kronos that actually manufactures

 2    them.    And that's important, your Honor, because

 3    it goes to something else that Ms. Jenkins said.

 4                     Your Honor asked whether -- how could

 5    ADP have actually obtain, provide notice and get

 6    consent, and that's obviously going to be focused

 7    on our briefs.       And one of the suggestions that

 8    Plaintiff's counsel has alleged is we could just

 9    build it in the clock software.           Well, that's

10    impossible, your Honor.         We don't write the clock

11    software; it's Kronos software.

12                     So you're essentially suggesting that

13    something that we buy from someone else, we should

14    somehow be required under BIPA to reprogram, which

15    we can't because we don't actually have the source

16    code to provide this onscreen notice.

17                     And then the other suggestion Ms.

18    Jenkins made was that we could just rely upon the

19    customers to provide notice and get consent.

20    Well, actually, the problem with that, your Honor,

21    is that BIPA has these $1,000, $5,000 per item

22    penalties, and that's a significant risk to ask a

23    company like ADP to run because certainly we would

24    expect that all of our clients would comply with
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                                                                Page 27
  1    the law in every instance.

  2                    But when we have the plaintiffs all

  3    over this country who are filing these lawsuits by

  4    the dozens and hundreds, and so basically for

  5    their end, for their response that they make

  6    repeatedly, well, you can't just rely upon someone

  7    else to take care -- or just rely upon someone

  8    else to just take care of any financial liability.

  9    We don't think it's workable, and frankly it's not

 10    what the statute says, your Honor.           The statute

 11    says that -- it talks about a collector, it talks

 12    about the companies that may become in possession.

 13                    And, your Honor, Ms. Jenkins' used an

 14    interesting analogy, the minister with the

 15    collection plate, which is not one I have heard

 16    before, but I actually certainly think it is

 17    pretty interesting.

 18               THE COURT:     Well, we have ushers in my

 19    church who pass the plate.

 20               MR. LAYDEN:      Yeah, I was going to say

 21    that, but I thought they were ushers, and the

 22    minister is not going to have much to do with the

 23    ushers just passing it around.

 24                    But I think actually the analogy
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                                                                Page 28
  1    works a little bit better if you think about it

  2    this way:     The minister, or the church, is Polar

  3    Tech; the people passing around the collections

  4    plate are the supervisors.         They are folks in

  5    Polar Tech's facility who are in charge of making

  6    sure its employees use these clocks to clock in

  7    and out of work so they can be paid wages by Polar

  8    Tech in connection with their employment of Polar

  9    Tech.

 10                    I don't think it would be reasonable

 11    for the Plaintiff to sue all those supervisors

 12    individually and say that they were collecting,

 13    and try to subject them to 1,000 liability.

 14    Instead, I think that the way BIPA works is that

 15    the entity that is actually collecting the data

 16    for use in its business, which is the employer, is

 17    the entity that is the collector, it's not the

 18    supervisor, it's not someone like that.

 19                    So I think actually that analogy does

 20    work if you just switch the entities out a little

 21    bit.    I think that the ushers are the supervisors.

 22                    So, your Honor, I think for all those

 23    reasons, you know, I think that the Plaintiff's

 24    response doesn't really quite meet the arguments
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                                                                Page 29
  1    that we made in the brief.         I think that this is a

  2    situation where understandably they're really

  3    trying to stretch BIPA way beyond its limits in

  4    terms of who is covered by this, and I really

  5    think that it just creates a real practical

  6    problem.

  7                    We should not be construing laws in

  8    ways that make it impractical or impossible for

  9    entities to comply, particularly where you have

 10    such a draconian penalty scheme in it.            And that's

 11    really what they're asking for, and it's really

 12    kind of a trap for companies like ADP which are

 13    marketed for selling its clocks, providing its

 14    services.

 15                    So for those reasons, we don't think

 16    there's any basis to apply 15(b) to ADP, and I

 17    don't think -- I think that my remarks on 15(a)

 18    and 15(d), I think, can stand; and for those

 19    reasons, your Honor, we would ask that you grant

 20    our motion to dismiss the claims.           Thank you.

 21               THE COURT:     Thank you.     This is a very

 22    intriguing area for me.        I'm going to deal with

 23    the simple thing first or simple count first.              I

 24    did not see that the Plaintiff gave any sort of a
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                                                                Page 30
  1    response to the, what I'll term the common law

  2    negligence claim, but to make the record clear,

  3    there is a statutory provision that I believe

  4    predominates, and I'm going to dismiss the common

  5    law negligence claim with prejudice under

  6    619(a)(9).

  7                    The -- and that also addresses what

  8    Polar Tech raised, but in any event, what's really

  9    in play here is the statute, and the statute is

 10    the Biometric Information Privacy Act found at

 11    740 ILCS 14/1 at (c), and it addresses a number of

 12    issues.

 13                    And what, however, is before me today

 14    with respect to ADP is a 2-615 motion.            And as we

 15    all know, 2-615 is the motion under the Code of

 16    Civil Procedure that mandates that I look to the

 17    four corners of the pleadings and the four corners

 18    of the pleadings only, and that's what I have

 19    done.

 20                    I'm admonished that I'm to construe

 21    the complaint in the light most favorable to the

 22    nonmoving party.       It's what I like to call the "so

 23    what" motion.      So, what you have alleged does not

 24    state a cause of action, in this case under the
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                                                                Page 31
  1    statute that's before me.

  2                    So diving into this, the complaint --

  3    we're going to start with, since both sides have

  4    started with 15(b), I'm going to start there.

  5    15(b) of the statute provides that no private

  6    entity, and I really have not heard, nor did I see

  7    in any of the briefs, if you will, there's no

  8    dispute, there's no contest, there's no argument

  9    that ADP is anything but a private entity.

 10                    No private entity may collect,

 11    capture, purchase, receive through trade or

 12    otherwise obtain a person's or a customer's

 13    biometric identifier or biometric information

 14    unless it first, so in other words, before, it

 15    collects, captures, purchases, receives, or

 16    otherwise obtains, it first must inform the

 17    subject or the subject's legally authorized

 18    representative in writing that a biometric

 19    identifier or biometric information is being

 20    collected or stored;

 21                    Two, informs the subject or the

 22    subject's legally authorized representative in

 23    writing of the specific purpose and length of term

 24    for which a biometric identifier or biometric
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                                                                Page 32
  1    information is being collected, stored, and used,

  2    and receives a written release executed by the

  3    subject of the biometric identifier or biometric

  4    information or the subject's legally authorized

  5    representative.

  6                    There's a definition of written

  7    release, and that means informed written consent

  8    or, in the context of employment, a release

  9    executed by an employee as condition of

 10    employment.     Although not really addressed in any

 11    of the briefs, the issue of what is a -- or what's

 12    the definition of a legally authorized

 13    representative.      That's not set forth in the

 14    statute.     Does that mean the employer?         There are

 15    no cases that interpret that.

 16                    So I have to give effect to the plain

 17    language of a statute.        I'm mandated by the

 18    Appellate and Supreme Court to do that.            And the

 19    best way is to look at the plain language and not

 20    to excise out a particular section, but to read

 21    the statute in its totality.

 22                    So it seems to me that trying to give

 23    effect to the statute as a whole where a cause of

 24    action would accrue would really be under 15(a),
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                                                                Page 33
  1    (b), (c), (d), and (e), as to what, if you will, a

  2    private entity can do with the data as defined in

  3    the statute.      So to try to give effect to the

  4    whole of the statute, it's this court's view that

  5    15(b) only applies to an employer and not a third

  6    party.

  7                    It seems to me that trying to give

  8    effect to this, the information is, first and

  9    foremost, it is a before, unless it first informs

 10    the subject or the subject's legally authorized

 11    representative.      And if I look at the pleading, it

 12    seems to me that the intent of this section is for

 13    an employer to be, if you will, responsible for

 14    providing that information.         And I'm trying to

 15    give effect to the definition of written release

 16    in the employment context, and that by its plain

 17    language states that.

 18                    So I always hate to be on the cutting

 19    edge because that branch can get real thin real

 20    quick, but unfortunately I don't see a case that

 21    is directly on point interpreting this.            The

 22    statute is fairly new, as we all know, but my view

 23    is that it applies when it is an employment

 24    situation, which is the allegation here, that it's
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                                                                Page 34
  1    the employer's responsibility, not a third party,

  2    and I'm going to grant the 2-615 motion with

  3    respect to 15(b), with prejudice.

  4                    15(a) does not require that a private

  5    entity provide an individual with anything.             It

  6    is -- what it states specifically, for the record,

  7    is that a private entity in possession of

  8    biometric identifiers or biometric information

  9    must develop a written policy made available to

 10    the public establishing a retention schedule and

 11    guidelines for permanently destroying biometric

 12    identifiers and biometric information, and it goes

 13    on.   I don't think I need to go any further.

 14                    But with respect to the pleadings, I

 15    think there needs to be more specificity than just

 16    a recitation of the statute.          But I don't think

 17    the pleadings correctly or accurately state that,

 18    and I'm directing everyone's attention to

 19    paragraph 44, "Furthermore, each defendant fails

 20    to provide employees," that's not required, but I

 21    am certainly going to give, with respect to a

 22    15(a) allegation, the Plaintiff the opportunity to

 23    replead.     So the 615 motion will be granted,

 24    however, it will be granted without prejudice.
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                                                                Page 35
  1                    15(d), this is interesting.          15(d)

  2    provides that "no private entity in possession of

  3    a biometric identifier or biometric information

  4    may disclose, re-disclose or otherwise disseminate

  5    a person's or a customer's biometric identifier or

  6    biometric information, unless the subject of the

  7    biometric identifier or biometric information or

  8    the subject's legally authorized representative --

  9    there is it is again" -- "consents to the

 10    disclosure or re-disclosure, the disclosure or

 11    re-disclosure completes a financial transaction

 12    requested or authorized by the subject, the

 13    biometric identifier, or the biometric

 14    information, or the subject's legally authorized

 15    representative --" it's not applicable here --

 16    "the disclosure or re-disclosure is required by

 17    State or Federal Law or municipal ordinance, or

 18    the disclosure is required pursuant to a valid

 19    warrant or subpoena issued by a court of competent

 20    jurisdiction."

 21                    But what's in play here is no private

 22    entity in possession of a biometric identifier or

 23    biometric information may disclose re-disclose or

 24    otherwise disseminate.        With respect to again, the
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                                                                Page 36
  1    four corners of the pleadings, it seems to me that

  2    there are not sufficient facts, there's not

  3    sufficient specificity just to say it was

  4    disclosed without more.

  5                    And, again, like I did under (a), I'm

  6    going to grant the motion; however, it's going to

  7    be without prejudice to replead.           And so that will

  8    be the order of the Court with respect to ADP's

  9    motion.

 10                    You're up.

 11               MR. BOWERS:      Thank you, your Honor.        And

 12    I apologize, I'm also getting over a cold, so I'll

 13    do my best to speak up.

 14               THE COURT:     No apologies necessary.

 15                    Go ahead.

 16               MR. BOWERS:      So given the fact that your

 17    Honor has already addressed Polar Tech's argument

 18    with respect to Plaintiff's Common Law negligence

 19    claim, I'll just start turn my attention to the

 20    statute of limitations issue that's before you.

 21                    We filed a Section 619 motion with

 22    respect to the statute of limitations --

 23               THE COURT:     (a)(5)?

 24               MR. BOWERS:      Correct, (a)(5)motion.
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                                                                Page 37
  1                    As your Honor is well aware, BIPA

  2    does not contain an expressed statute of

  3    limitations.      This is an area that's being

  4    litigated amongst circuit courts across Illinois,

  5    and these lawsuits continue to be filed by

  6    plaintiffs' attorneys in Northern Illinois and

  7    across the state.

  8                    It is Polar Tech's stance that a

  9    one-year statute of limitations applies to

 10    Mr. Cameron's BIPA claim because BIPA is a statute

 11    that is concerned with the right of privacy and

 12    the protection of privacy rights.

 13                    Alternatively, Polar Tech submits

 14    that in the event a one-year statute of

 15    limitations does not apply, a two-year statute of

 16    limitations applies to limit any claims of the

 17    Plaintiffs and/or the putative class to two years

 18    arising two years before the date of filing the

 19    complaint, which in this case would be August 7th

 20    of 2016.

 21                    Based on the fact that the Illinois

 22    Supreme Court's decision in Rosenbach v Six Flags

 23    effectively transformed BIPA into not only a

 24    strict liability statute, but also a penal
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                                                                Page 38
  1    statute, as opposed to a remedial statute, as

  2    Plaintiff asserts in his response brief.

  3                    With respect to Polar Tech's

  4    assertion that a one-year statute of limitation

  5    applies -- this falls under Section 13-201 of the

  6    Code of Civil Procedure, a one-year statute of

  7    limitation applies in the event that there is a

  8    publication --

  9               THE REPORTER:      Your Honor, I need him to

 10    speak up.

 11               THE COURT:     Can you speak up a little bit

 12    for the court reporter.

 13               MR. BOWERS:      Yes.   Sorry.

 14                    A one-year statute of limitation

 15    applies to privacy claims in the event that there

 16    is publication of the information that was, in

 17    this case, purportedly collected, stored and, as

 18    alleged in Plaintiff's, disseminated.

 19                    In Plaintiff's Complaint, there are

 20    allegations that biometric data was not only

 21    collected and stored, but also disseminated to

 22    third parties, ADP, and, quote, "other unknown

 23    third parties."

 24                    There is a case out of the First
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                                                                 Page 39
  1    District Appellate Court called Popko v

  2    Continental Casualty Company.          That cite is 355

  3    Ill. App. 3d 257.       It's a 2005 case out of the

  4    First District.      In that case, an employee was

  5    terminated from CNA Insurance, Continental

  6    Casualty Insurance.

  7                    After undergoing a performance review

  8    in which he allegedly used profanity during this

  9    performance review with his supervisor.            That

 10    supervisor sent a memorandum to yet another

 11    supervisor, a manager within the company, and the

 12    plaintiff was ultimately terminated in that case.

 13                    And in that case he brought a

 14    defamation claim against his former employer, but

 15    the focus of the court's opinion there was whether

 16    or not there was publication.          And I bring this

 17    particular case up, not for the defamation part of

 18    the case, but to address the issue of publication.

 19                    In that case, the court said that

 20    there was publication solely by virtue of the fact

 21    that information regarding the plaintiff's

 22    performance review was transmitted by his

 23    supervisor who was present at that performance

 24    review to another individual within the company.
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                                                                Page 40
  1    So in that case, an intra-office communication

  2    from one individual to another, while not made

  3    directly available to the public at large, can

  4    constitute a publication.

  5                    And similarly here, that's what's

  6    been alleged in Plaintiff's Complaint.            Plaintiff

  7    has alleged that Polar Tech collected and stored

  8    Mr. Cameron's biometric data by virtue of his

  9    usage of providing scans of his finger on a time

 10    clock system that was provided by ADP, and that

 11    that information was then disseminated to a third

 12    party, in this case ADP, and potentially to other

 13    third parties.

 14                    BIPA itself is concerned with

 15    publication, as seen in Section 15(c) and section

 16    15(d).

 17               THE COURT:     Can I stop and ask you a

 18    question?

 19               MR. BOWERS:      Sure.

 20               THE COURT:     So the allegations in the

 21    Complaint is that the Plaintiff was employed by

 22    your client from February of 2018 until May of

 23    2018, and this is a 619, so you admit all well

 24    pled facts.     And this case was filed on 8/7 of
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                                                                Page 41
  1    '18.    So would I be correct in assuming that what

  2    you're directing my attention to would be the

  3    class action component of this pleading?

  4               MR. BOWERS:      That's correct.

  5               THE COURT:     Go ahead.

  6               MR. BOWERS:      So, yes, we are directing

  7    your attention to the class action component for

  8    this particular claim as opposed to Mr. Cameron's

  9    actual dates of employment.         But as stated before,

 10    BIPA does concern itself with publication in

 11    Sections 15(c) and 15(d).

 12               THE COURT:     But you would agree that, I

 13    mean, the Complaint was filed even in the shortest

 14    statute of limitation, which is a year that you're

 15    asking me to consider, right?

 16               MR. BOWERS:      Correct.

 17               THE COURT:     Okay.    Go ahead.

 18               MR. BOWERS:      I will concede the fact that

 19    this complaint was filed within one year of

 20    Mr. Cameron's employment.

 21               THE COURT:     Okay.

 22               MR. BOWERS:      But for purposes of the

 23    class size, that will be determined down the road.

 24    That's why I preface it now, because I don't want
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                                                                Page 42
  1    to waive this argument later.

  2               THE COURT:     I understand.

  3               MR. BOWERS:      BIPA does prohibit parties

  4    from selling and trading or profiting by

  5    dissemination of a person's biometric data and

  6    also prohibits parties from disclosing

  7    re-disclosing, or otherwise disseminating an

  8    individual's biometric data, and this signals the

  9    Illinois General Assembly's intent to regulate

 10    dissemination and, therefore, publication of an

 11    individual's biometric data to third parties.

 12                    Again, publication is not required,

 13    that this data be made available to the public at

 14    large, or that could be made available to the

 15    public at large, it requires that it's transmitted

 16    to a third party.       Because Illinois takes a more

 17    narrow view of what "publication" means as opposed

 18    to other jurisdictions in this country.

 19                    So, accordingly, we submit that a

 20    one-year statute of limitations applies to

 21    Mr. Cameron's claim.

 22                    Alternatively, if the Court is

 23    inclined that to opine that the one-year statute

 24    of limitations does not apply, Polar Tech submits
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                                                                Page 43
  1    that a two-year statute of limitations applies,

  2    because Mr. Cameron seeks a statutory penalty in

  3    its prayer for relief.

  4                    BIPA provides liquidated damages of

  5    $1,000 per negligent violation, and $5,000 for

  6    intention and/or reckless violation of the Act.

  7                    Plaintiff asserts that a five-year

  8    statute of limitations applies to his claim

  9    because BIPA does not contain an expressed statute

 10    of limitations.      And while BIPA itself does not

 11    contain a specific statute of limitations, unless

 12    a rule to the contrary applies, then the five-year

 13    statute of limitations, the catch-all provision,

 14    applies.     And that's exactly what that is, a

 15    catch-all, a backup, if nothing else applies.

 16                    Here alternatively, a two-year

 17    statute of limitations would apply should the

 18    one-year statute of limitations not apply, because

 19    the Supreme Court's decision in Rosenbach v Six

 20    Flags not only transforms BIPA into a strict

 21    liability statute, it also rendered it into a

 22    penal statute.

 23                    A statute is there for penal if it

 24    imposes automatic liability or violation of its
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                                                                Page 44
  1    own terms, if it sets forth a predetermined amount

  2    of damages, and if it imposes liability without

  3    actual damages suffered by the plaintiff.

  4                    In Rosenbach, the Supreme Court held

  5    that the plaintiff did not need to allege actual

  6    damages in order to bring a claim underneath the

  7    umbrella of the statute.         That is exactly what

  8    happened here.

  9                    Plaintiff then attempts to rebut my

 10    argument by saying that BIPA addresses a societal

 11    concern, in this case regulating an individual's

 12    privacy and their biometric data, which, fine, I

 13    will concede that it may have been an intent.              But

 14    a statute can both be penal and serve remedial

 15    purposes.

 16                    In Plaintiff's response, they bring

 17    up the Telephone Consumer Protection Act, and

 18    whether -- in the case called Lay, whether or not

 19    that statute was remedial or penal.           And in that

 20    case, the court noted that the TCPA were provided

 21    for treble damages, which were separate from the

 22    liquidated damages contained within the statute.

 23    That's a distinguishing feature from BIPA.

 24                    BIPA does not contain such a
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                                                                Page 45
  1    provision.     It provides solely liquidated damages.

  2    It provides punitive and deterrent goals to

  3    prevent abuse of individual -- collection of an

  4    individual's biometric data.          It is

  5    distinguishable from TCPA.

  6                    And in the event that a one-year

  7    statute of limitations does not apply, because the

  8    statute is penal in nature, it has deterrent and

  9    punitive goals, it provides a predetermined amount

 10    of damages, it imposes liability without regard

 11    for actual damages as articulated by the Illinois

 12    Supreme Court in Rosenbach, and it imposes

 13    automatic liability for a violation of its own

 14    terms, which the Illinois Supreme Court rendered

 15    the statute into a strict liability statute

 16    through Rosenbach.

 17                    This statute is penal in nature, not

 18    remedial, and alternatively, a two-year statute of

 19    limitations would apply to this lawsuit in

 20    general, to BIPA claims in general.

 21               THE COURT:     Anything else?

 22               MR. BOWERS:      That's all I have.

 23               THE COURT:     You will get the last word.

 24               MS. JENKINS:      Thank you, your Honor.
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                                                                Page 46
  1                    We would first like to acknowledge we

  2    do agree with the court.         This isn't properly at

  3    issue right now.       The Plaintiff's claims were

  4    filed within one year, so even assuming the short

  5    statute of limitations, this complaint cannot be

  6    dismissed on those grounds alone.

  7                    Instead, this is Defendant's improper

  8    attempt to limit the class size, which it's more

  9    properly handled by the motion for class

 10    certification or potentially a summary judgment.

 11    But regardless, as it's been noted, BIPA has no

 12    self-contained statute of limitations, and

 13    therefore, the statute of limitations provided by

 14    735 ILCS 5/13-205, which is the default five-year

 15    limitations period, should apply.

 16

 17

 18                    The one-year statute of limitations

 19    does not apply here for two reasons.            First, while

 20    we might allege that Plaintiff's privacy has been

 21    denigrated by virtue of Polar Tech violations of

 22    BIPA, the true nature of a potential liability

 23    here stems from Polar Tech's violation of the

 24    statute itself.      This is not an action for slander
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                                                                Page 47
  1    or libel or publication of a matter violating the

  2    right to privacy.

  3                    The plain and unambiguous language of

  4    Section 13-201, which provides the one-year

  5    statute of limitations states that it applies to

  6    actions for publication of a matter violating the

  7    right to privacy, which is not what's being

  8    alleged here.      The defendants in these cases can't

  9    have it both ways saying that publication is a

 10    necessary element for the statute of limitations,

 11    but dissemination only takes place if it's made to

 12    the public at large.

 13                    The positions that have been taken,

 14    and I understand that ADP and Polar Tech were

 15    making separate arguments, but these types of

 16    positions are inconsistent.         And further, the

 17    plain and unambiguous language of BIPA doesn't

 18    require us to allege publication, and therefore we

 19    don't believe that BIPA falls within the one-year

 20    statute of limitations period.

 21                    Polar Tech, alternatively declares

 22    that the two-year statute applies because it

 23    thinks that BIPA is a penal statute; but penal

 24    statutes impose automatic liability, which BIPA
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                                                                Page 48
  1    does not.     It sets forth a predetermined amount of

  2    damages, and BIPA does contain statutory damages

  3    in the event that Plaintiff doesn't recover their

  4    actual damages.

  5                    They also claim that BIPA imposes

  6    damages without regard to the actual damages

  7    suffered by the Plaintiff, but that's simply not

  8    true.    If you read the statute, Section 14/20

  9    provides that a plaintiff can recover actual

 10    damages or statutory damages, whichever is

 11    greater, and, therefore, BIPA is not a penal

 12    statute.

 13                    It is analogous to the Telephone

 14    Consumer Protection Act, or TCPA, which provides

 15    that a plaintiff can recover actual damages or

 16    $500 per each violation, whichever is greater.

 17    The language is almost the same as the language in

 18    BIPA.

 19                    And as the Illinois Supreme Court

 20    recognized in Standard Mutual Insurance Company v

 21    Lay, the TCPA is not a penal statute with that

 22    identical statutory language, and therefore BIPA

 23    shouldn't be considered one either.

 24                    Rosenbach didn't make BIPA a penal
Case 2:20-cv-01082-JCC-MAT Document 25 Filed 09/14/20 Page 122 of 136


                                                                Page 49
  1    statute.     It again reiterates that a plaintiff

  2    could recover actual damages if they properly pled

  3    and proved them or statutory damages.            And they

  4    don't need to allege actual damages because the

  5    statute provides statutory damages.           Therefore,

  6    only the five-year statute of limitations remains.

  7                    And furthermore, Judge, no case or

  8    court or judge has considered this issue, directly

  9    or indirectly has adopted the Defendant's

 10    position.     Every court that has considered this

 11    issue has ruled in favor of the five-year statute

 12    of limitations.      And I recognize that none of

 13    those cases are binding on this court, but we do

 14    think that they're persuasive in holding that

 15    several judges across both the country and the

 16    state have held that the five-year statute of

 17    limitations applies.

 18                    And we filed with the court a notice

 19    of supplemental authority.         The case Robertson v

 20    Hostmark Hospitality Group, which I have copy of

 21    if you need it today; and in that case Judge Cohen

 22    in Cook County also held that the one-year and

 23    two-year statute of limitations do not apply for

 24    the reasons we have articulated, and agreed that
Case 2:20-cv-01082-JCC-MAT Document 25 Filed 09/14/20 Page 123 of 136


                                                                Page 50
  1    the five-year statute of limitations period is not

  2    applicable here.

  3                    Other cases, in ruling on motions for

  4    class certification, have held that the five-year

  5    statute of statute of limitations period is

  6    applicable with respect to the class size, and

  7    those cases are Alvarado v International Laser

  8    Production Inc., Case No. 18-cv-07756 in the

  9    Northern District of Illinois decided on June 19

 10    of 2019; Roberson v Symphony Post Acute Network,

 11    Case No. 17-L-733 in the Circuit Court of St.

 12    Clair County, in March of 2019; and the Facebook

 13    Biometric Privacy Litigation case pending in the

 14    Northern District of California, which was

 15    determined and decided in April of 2018.

 16                    And for these reasons, we believe

 17    that the five-year statute of limitations period

 18    is the one that applies to BIPA and not this

 19    shorter one or two-year periods.

 20               THE COURT:     Thank you.

 21                    Last word.

 22               MR. BOWERS:      Your Honor, just a couple of

 23    things to address, and I'll do my best to make

 24    this quick.
Case 2:20-cv-01082-JCC-MAT Document 25 Filed 09/14/20 Page 124 of 136


                                                                Page 51
  1                    First, Ms. Jenkins has stated earlier

  2    that the allegations contained in this complaint

  3    focused on the violation of the statute based on

  4    the collection of biometric data.           They have also

  5    alleged that this data was disseminated to third

  6    parties, and BIPA itself expressly prohibits

  7    dissemination and publication of data to third

  8    parties.

  9                    That is part of the violation of

 10    BIPA.    There are multiple ways to violate the

 11    statute:     By profiting, by collecting, by

 12    capturing, by storing, by disseminating, by

 13    publishing.

 14                    Publishing and collecting were both

 15    alleged in this complaint.         BIPA expressly

 16    prohibits publishing and disseminating biometric

 17    data to third party.        That was what was alleged in

 18    this complaint.      So, accordingly, we would submit

 19    that a one-year statute of limitations does apply

 20    to this claim.

 21                    Secondly, with respect to the

 22    argument of the two-year statute of limitations,

 23    as I have stated before, this statute does contain

 24    express liquidated damages based on the type of
Case 2:20-cv-01082-JCC-MAT Document 25 Filed 09/14/20 Page 125 of 136


                                                                Page 52
  1    violation of the statute.         It imposes liability

  2    automatically for violation of its terms based

  3    upon a plain reading and interpretation of the

  4    Illinois Supreme Court's decision in Rosenbach.

  5                    This statute has been transformed

  6    into a strict liability statute, and it has been

  7    transformed into a penal statute, and

  8    alternatively, a two-year statute of limitations

  9    should apply to a BIPA claim.

 10                    And, finally, I'll just bring up the

 11    authority, the supplemental authority that

 12    Ms. Jenkins has just brought to your attention.

 13    None of these cases are -- none of these decisions

 14    are binding on this court.         We have a decision out

 15    of the Northern District of Illinois, at a

 16    St. Clair County, and out of the Northern District

 17    of California.      None of those cases, none of those

 18    decisions are a binding precedent on this court.

 19                    And so accordingly, Polar Tech

 20    submits that those decisions should be disregarded

 21    as they are not binding on this court.

 22               THE COURT:     Thank you.

 23                    Excellent job.      But as I thought

 24    through this, it seems to me that this is
Case 2:20-cv-01082-JCC-MAT Document 25 Filed 09/14/20 Page 126 of 136


                                                                Page 53
  1    premature.     I don't have before me anything more

  2    than the complaint which pertains to the named

  3    Plaintiff.     I understand why you did what you did.

  4    You want to preserve this.         It is preserved.       But

  5    I'm going to enter and continue my decision on

  6    that until, I don't know, class certification,

  7    summary judgment.

  8                    But certainly, in my view, the record

  9    needs to be developed much more than it is, but

 10    Polar Tech is in no way, shape, or form

 11    prejudiced, precluded, foreclosed from addressing

 12    this as we get further down the road.            So I am not

 13    ruling on this.      I'll enter and continue the issue

 14    for a later date.

 15                    That being said, how much time does

 16    Plaintiff need to replead on the Counts or the

 17    sections that I left up?

 18               MS. JENKINS:      30 days, your Honor, if

 19    that's okay with you.

 20               THE COURT:     That's reasonable.       Here's

 21    the offer that I will make.         Okay?    I know this is

 22    isn't the only file on your respective desks.              I

 23    don't believe in bringing back attorneys unless

 24    we're going to accomplish something of substance,
Case 2:20-cv-01082-JCC-MAT Document 25 Filed 09/14/20 Page 127 of 136


                                                                Page 54
  1    so I will throw this out.

  2                    I don't know what your respective

  3    thoughts are, obviously, because you haven't seen

  4    the amended pleading, but I'm affording you ample

  5    opportunity to decide whether you're going to file

  6    a motion to dismiss; I'm willing to do that.

  7                    You're all excellent lawyers.          You

  8    can work out a briefing schedule.           I can give you

  9    an outside date right now for a hearing date.              If

 10    it ends up being that you file an answer, we could

 11    just use that as a status date on discovery, et

 12    cetera.

 13                    Would you like to take me up on my

 14    offer.

 15               MR. LAYDEN:      It's certainly fine with

 16    ADP, your Honor.

 17               THE COURT:     Why don't we kick this out

 18    for status/argument.        How about if we go to the

 19    beginning of December?        That gives each side a

 20    full opportunity to work out a briefing schedule,

 21    with the caveat that I get courtesy copies one

 22    week before, but I'll just throw out arbitrarily

 23    Wednesday, December 4th at 10:00 for argument or

 24    status.
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                                                                Page 55
  1                MR. LAYDEN:     Your Honor, that day is not

  2    terrific for me.       Any other day that week is fine.

  3                THE COURT:    December the 6th?       That's a

  4    Friday at 10:00.

  5                MR. STEPHAN:     Judge, can we suggest maybe

  6    pushing that to January.         The holidays are just --

  7    I'm always jammed.

  8                THE COURT:    I'm not opposed at all.

  9    Might I suggest the 17th, 10:00?

 10               MR. LAYDEN:      Fine with me.

 11               THE COURT:     Argument or status?

 12               MR. BOWERS:      Judge, I'm scheduled to be

 13    out of town that day.        Is there a day that week,

 14    maybe earlier that week?

 15               THE COURT:     15th?

 16               MR. BOWERS:      That's fine, your Honor.

 17               MR. LAYDEN:      That works.

 18               MR. STEPHAN:      That's good.

 19               THE COURT:     Same thing.      10:00 status or

 20    argument.     And then you guys work out a briefing

 21    schedule.     If somebody wants to e-mail an order,

 22    if it gets to that point, I'd be happy to enter

 23    the order without a court appearance.            Okay?

 24                    So if you'd indicate today for the
Case 2:20-cv-01082-JCC-MAT Document 25 Filed 09/14/20 Page 129 of 136


                                                                Page 56
  1    reasons stated on the record, and then just go

  2    from there.

  3                    Anything else we can accomplish?

  4               MS. JENKINS:      No, your Honor.

  5               MR. STEPHAN:      Thank you, Judge.

  6               MR. LAYDEN:      Thanks, your Honor.

  7

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Case 2:20-cv-01082-JCC-MAT Document 25 Filed 09/14/20 Page 130 of 136


                                                                Page 57
  1    STATE OF ILLINOIS       )

  2                            )

  3    COUNTY OF C O O K       )

  4

  5               NOHEMI SALAZAR-PITTS, a Certified

  6    Shorthand Reporter doing business in and for the

  7    State of Illinois certifies that she reported in

  8    shorthand the proceedings of said hearing, and

  9    that the foregoing is a true and correct

 10    transcript of her shorthand notes so taken as

 11    aforesaid and contains the proceedings given at

 12    said hearing.

 13

 14

 15                    ______________________________
                       Certified Shorthand Reporter
 16

 17

 18

 19

 20

 21

 22

 23

 24
Case 2:20-cv-01082-JCC-MAT Document 25 Filed 09/14/20 Page 131 of 136




                  Exhibit F
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                IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                    COUNTY DEPARTMENT, CHANCERY DIVISION
                                                                 JUDGE DAVID B. ATKINS
             FELIPE BERNAL, individually
             and on behalf of others similarly                        AUG 23 2019
             situated,                                                     Court" 1879
                                                                   Circuit Court-1879
                        Plaintiff,             No. 2017-CH-12364

                                      v.
                                      V.                                      16
                                                                     Calendar 16

             ADP, LLC,                                               Judge David B. Atkins
                            Defendant.

                             MEMORANDUM OPINION AND ORDER

       THIS CASE COMING TO BE HEARD on Defendant ADP, LLC's       LLC’s Motion to Dismiss
                                                6/2-615, the court, having considered the
Plaintiffs Complaint Pursuant to 735 ILCS 5/2-615,
briefs submitted and being fully advised in the premises,
                                                premises.

        HEREBY FINDS AND ORDERS:

                                                  Background

        Plaintiff, Felipe Bernal, as an employee of Rockit Ranch Productions, Inc. ("Rockit"),
                                                                                    (“Rockit”),
                                                             “clock-in” and "clock-out."
was required to use biometric scanning technology to "clock-in"               “clock-out.” The
biometric technology was provided and serviced by Defendant ADP, LLC. Plaintiff alleges
the use of his biometric identifying information during his employment with Rockit was
improperly acquired, possessed, and disseminated in violation of sections 740 ILCS 14/15  14/15
(a)-(d) of the Biometric Information Privacy Act ("BIPA").
                                                   (“BIPA”). Plaintiff originally brought suit
against Rockit for said violations, but he subsequently amended his Complaint to drop all
allegations against Rockit and instead claim that Defendant violated BIPA. Defendant
now seeks to dismiss all counts.

                                              Standard of Review

       A 2-615 motion to dismiss challenges the complaint's
                                                        complaint’s legal sufficiency based on
facial defects.1
       defects.! The court assumes all well-pleaded facts and their reasonable inferences in
the complaint as true, viewing the allegations in the light most favorable to the plaintiff.2
                                                                                       plaintiff.^
As Illinois is a fact-pleading jurisdiction, "a
                                             “a plaintiff must allege facts sufficient to bring a
claim within a legally recognized cause of action."3action.”^ Mere conclusions of law and
unsupported conclusory factual allegations are insufficient to survive a 2-615 motion to
dismiss.4 A 2-615 motion to dismiss does not raise affirmative factual defenses.5 defenses.^ "A A

1 Beacham v. Walker, 231 231 Ill. 2d 51, 57 (2008).
22 Alpha School Bus Co. v. Wagner, 391 391 III.
                                            Ill. App. 3d 722, 735 (2009).
 33 City of Chicago v. Beretta U.S.A. Corp., 213 Ill. 2d 351, 355, (2004).
 44 Alpha School Bus, 391 Ill. App. 3d at 736.
                                                       Page 11 of 5
        Case 2:20-cv-01082-JCC-MAT Document 25 Filed 09/14/20 Page 133 of 136

motion to dismiss should be granted only if the plaintiff can prove no set of facts to support
the cause of action asserted."6
                    asserted.”®

                                                   Discussion

     Count I of Plaintiffs Complaint alleges violations of four separate clauses within
BIPA. The Court addresses each alleged violation separately.?
                                                 separately.'^

Applicability of § 15(b).
                   15(b).

       Plaintiff asserts that Defendant violated § 15(b),
       Plaintiff                                           15(b), which imposes certain
                                                                           “collect, capture,
preconditions that private entities must comply with before they can "collect,
purchase, receive through trade, or otherwise obtain"                individual’s biometric
                                                       obtain” an individual's
information. Defendant presents a compelling argument that § 15(b)15(b) should not apply to
an entity like ADP, pointing out that language included by the legislature differs from the
language included in the other subsections and suggests that the legislature intended for
possession alone to not be enough to make an entity subject to § 15(b).
                                                                    15(b). Indeed, § 15(b)'s
                                                                                       15(b)’s
requirement that the private entity whose actions the subsection is meant to regulate
must receive a "written   release” from the subject of the biometric identifier or biometric
                 “written release"
information or their legally-authorized representative does suggest that the legislature did
not intend for the subsection to apply to a third party entity as Defendant seems to be
here.® Here, Defendant is not Plaintiffs employer. While Plaintiff correctly contends that
here.8
BIPA can be applied outside of an employment situation, there is nothing to suggest that
BIPA was intended to apply to situations wherein the parties are without any direct
relationship.® Moreover, from the facts as they are alleged, the Court can infer that this
relationship.9
case fits squarely within an employment context. All of Plaintiffs claims stem from
Rockit’s requirement that employees participate in biometric scanning technology. That
Rockit's
Rockit obtained the technology from Defendant does not remove Plaintiffs case from
existing within the context of his employment by Rockit. As Defendant notes, to read
BIPA as requiring that a third party provider of the biometric timeclock technology,
without any direct relationship with its customers'
                                            customers’ employees, obtain written releases




5^ Borowiec v.u. Gateway 2000, Inc., 209 Ill. 2d 376, 382 (2004).
 6® Kaiser v. Fleming, 315 Ill. App. 3d 921, 925, (2000).
'In                     Defendant’s motion to dismiss, Plaintiff represents that he "voluntarily
  ^ In his response to Defendant's                                                    “voluntarily dismisses his
                                         Defendant,” thus rendering as moot Defendant's
  negligence claim (Count II) against Defendant,"                              Defendant’s motion to dismiss Count
  II.
  11.
 8® As Defendant notes in its motion, the BIPA's
                                            BIPA’s definition of "written  release” clearly limits its applicability,
                                                                  “written release"
  in the context of employment, to the relationship that exists between employer and employee. 740 ILCS
  14/10.
  14/10.
  ® In Rosenbach v. Six Flags Entm't
  9                                                     123186 (2019), the Supreme Court noted that the purpose
                                 Entm’t Corp., 2019 IL 123186
  of § 15(b)            “in individuals and customers the right to control their biometric information without
       15(b) is to vest "in
  requiring notice before collection and giving them the power to say no by withholding consent."
                                                                                              consent.” 2019 IL
  123186 at TI34.
  123186      ¶34. Given the Supreme Court's                         15(b)’s purpose, there is little reason to
                                         Court’s interpretation of § 15(b)'s
  believe that its applicability should extend beyond the point at which an individual has the right to withhold
                                                                                        Rockit’s authority to collect
  consent. Here, Plaintiffs right to withhold consent can be exercised by refusing Rockit's
  his biometric information.
                                                       Page 2 of 5
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from said employees would be unquestionably not only inconvenient but arguably
absurd.1°
absurd.io

       Yet, based on the pleadings, as written, the Court's
                                                       Court’s decision must ultimately turn
on the insufficiency of Plaintiffs Complaint as to § 15(b).
                                                      15(h). Plaintiff has failed to allege facts
                                                     Defendant’s actual involvement, relative
sufficient enough for the Court to properly assess Defendant's
to the biometric scanning technology, beyond the    fact that Defendant supplied Rockit with
the technology. In order for the Court to determine whether or not § 15(b)   15(b) is applicable
here. Plaintiffs Complaint must include factual allegations of what Defendant's
here,                                                                          Defendant’s role
relative to Plaintiffs biometric information is. Most of Plaintiffs claims that are relevant
     15(b) are aimed at what the technology Defendant provides to Rockit allegedly does.
to § 15(b)
                                                             Defendant’s part, the allegations
In so far that Plaintiffs claims allege particular action on Defendant's
                   nature.Therefore,
are conclusive in nature.11               Defendant’s motion to dismiss, as to the portion of
                              Therefore, Defendant's
                                  15(b) of BIPA is GRANTED.
Count I alleging a violation of § 15(b)

Whether § 15(a)
          15(a) is Moot.

      Plaintiff alleges a breach of § 15(a),
                                      15(a), which requires private entities in possession of
biometric information to:

       “develop a written policy, made available to the public, establishing a
       "develop
       retention schedule and guidelines for permanently destroying biometric
       identifiers ... when the initial purpose for collecting or obtaining such
       identifiers or information has been satisfied or within 3 years of the
       individual's
       individuafs last interaction with the private entity, whichever occurs first.
       Absent a valid warrant or subpoena issued by a court of competent
       jurisdiction, a private entity in possession of biometric information must
       comply with its established retention scheduled and destruction guidelines."
                                                                       guidelines.”

The language in § 15(a)
                      15(a) seems to make clear that a private entity is required to comply
with its established retention schedule and destruction guidelines whenever in possession
of biometric information. The subsection seems to stipulate that the schedule and
guidelines must be written and made available to the public. Therefore, if a private entity
is in possession of biometric information, but lacks an established retention schedule and
destruction guidelines, it stands to reason that said private entity could be found to be in
violation of § 15(a).
               15(a).

       Notwithstanding the requirement that a private entity in possession of biometric
information have an established retention schedule and destruction guidelines, there is no
explicit requirement that the schedule or guidelines exist "prior
                                                            “prior to"
                                                                   to” possession of the


   “It is a familiar rule, that a thing may be within the letter of the statute and yet not within the statute,
10 "It
because not within its spirit, nor within the intention of its makers."
                                                                    makers.” People v. Hanna, 207 Ill. 2d 486, 498
(2003) (citing Croissant v.  u. Joliet Park Dist., 141                         (“Statutes are to be construed in a
                                                   141 Ill. 3d 449, 455 (1990) ("Statutes
                                           results”)).
manner that avoids absurd or unjust results")).
11 See Plaintiffs Complaint at T[
11                                  ¶ 3 ("Defendant
                                        (“Defendant ADP is capturing, storing, using, and/or disseminating the
               Plaintiff...”)
biometrics of Plaintiff   ...")
                                                        Page 3 of 5
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biometrics information. Yet, regarding § 15(a),
                                             15(a), Plaintiff alleges that "[p]rior
                                                                            “[pjrior to taking
Plaintiffs biometrics, Defendant did not make publicly available any written policy as to a
biometric retention schedule and guidelines for permanently destroying the collected
biometrics."
biometrics.” While this may be true, such an allegation does not exclude the possibility
that Defendant made available to the public an established schedule and guidelines when,
and not before, it was in possession of Plaintiffs biometric information. Plaintiffs
Complaint, as written, does not sufficiently allege an actual violation of § 15(a),
                                                                              15(a), and thus,
fails to state a claim. Defendant's
                        Defendant’s motion to dismiss, as to the portion of Count I asserting
a violation of § 15(a)
                 15(a) of BIPA is GRANTED.

Whether Plaintiff has Sufficiently Alleged a Violation of § 15(c).
                                                            15(c).

       Plaintiff alleges an infraction of § 15(c),
                                               15(c), which prohibits private entities from
selling, leasing, trading, or otherwise profiting from an individual's
                                                                     individuafs biometric
information.12
information. 12 Here, Plaintiffs contends that the allegations in his Complaint, "when“when
combined with reasonable inferences that can be drawn therefrom, establish that
Defendant obtains and stores the biometric information captured by its devices, which it
in turn sells, leases, or otherwise makes commercially available to Plaintiffs employer for
the purposes of biometric timekeeping."13
                             timekeeping.”i3 The court disagrees. Paragraphs 11 11 and 26 of
Plaintiffs Complaint allege that Defendant disseminates biometric information to "third
                                                                                      “third
parties, including vendors for timekeeping, data storage, and payroll purposes."
                                                                       purposes.” Plaintiffs
Complaint does not contain any allegation that Defendant sold, leased, traded, or
otherwise profited from anyone's
                           anyone’s biometric information. Thus, since Plaintiffs Complaint
only alleges facts sufficient to demonstrate that Defendant passes biometric data to third
party partners for purposes other than profit,
                                            profit. Defendant's
                                                    Defendant’s motion to dismiss as to the
portion of Count I asserting a violation of § 15(c)
                                              15(c) is GRANTED.

Whether Plaintiff
        Plaintiff has Sufficiently Alleged a Violation of § 15(d).
                                                            15(d).

      Defendant provides a compelling argument regarding whether § 15(d)     15(d) is even
applicable in this case. Namely, that Plaintiffs implication of Defendant's
                                                                     Defendant’s allowing
biometric information to pass to data storage vendors and payroll services does not qualify
as instances of "disclosure"
                  “disclosure” or "dissemination"
                                     “dissemination” under BIPA, but rather should be
considered a form of mere transmission. However, to the extent that Defendant'sDefendant’s
argument seems to suggest an affirmative factual defense, it would be inappropriate for
the Court to entertain this line of argument on a Section 2-615 motion to dismiss.

       Turning to the Complaint as pled,
                                      pled. Plaintiff asserts a violation of § 15(d),
                                                                               15(d), which
establishes certain preconditions with which private entities must comply before they
"disclose,
“disclose, redisclose, or otherwise disseminate a person's
                                                    person’s or a customer's
                                                                   customer’s biometric ...
information."
information.” Only twice in Plaintiffs Complaint does he allege any such disclosure; each
instance consists of a single statement that Defendant's
                                                 Defendant’s technology "allows
                                                                           “allows for and
resulted in"
           in” the dissemination of Plaintiffs biometric information to third parties,
                                                                                    parties.


12
12   See 740 ILCS 14/15(c).
                    14/15(c).
13
13   See Plaintiffs response to Defendant's
                                Defendant’s motion to dismiss at pg. 8.
                                                    Page 4 of 5
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including vendors for timekeeping, data storage, and payroll purposes.”i4
                                                                       purposes."14 These
allegations fall short of sufficient factual pleading, because they are void of any facts to
support Plaintiffs allegation that Defendant has violated § 15(d).
                                                                15(d). Suggesting that the
technology Defendant created allows for the dissemination of biometric information is not
an allegation of the Defendant's
                     Defendant’s disseminating biometric information. Thus, Defendant's
                                                                                Defendant’s
motion to dismiss, as to the portion of Count I asserting a violation of § 15(d)    15(d) is
GRANTED.

WHEREFORE the Court enters an order as follows:

      a. Defendant ADP, LLC's
                        EEC’s motion to dismiss Plaintiff Felipe Bernal's
                                                                 Bernal’s Complaint is
         GRANTED, and Count I is dismissed without prejudice.

      b. Plaintiff has until September 20, 2019 to file an amended complaint, with facts
         consistent with this Order.

      c. This matter is set for further status to October 24, 2019 at 10:30
                                                                      10:30 a.m. in courtroom
         2102.
                                                                               EALREDiviD B. ATKINS
                                                                                    AUG 23 2019
                                                                                  Circuit Court
                                                                                          Court-1879
                                                                                                -1879

                                                                               Judge David B. Atkins

The Court.




14
14   See Plaintiffs response to Defendant's
                                Defendant’s motion to dismiss at   ¶¶11, 26.
                                                    Page 5 of 5
